Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 1 of 86 PageID #:2046




           EXHIBIT B
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 2 of 86 PageID #:2047




Terms of Use
Last Modified: September 16, 2016

These Terms of Use (these “Terms”) govern your access to and the use of TopstepTrader, LLC
(“TopstepTrader”, “we”, “our” or “us”) Sites or Services, however accessed, including any content,
functionality, products and services, information about our products and services, your accounts, and other
tools o ered. All capitalized terms not otherwise defined herein shall have the meanings set forth in the
Privacy Policy which is incorporated herein by reference.

By using our Sites or Services, whether by accessing, creating an account, posting or downloading
content or otherwise, you accept and agree to be bound by these Terms. If you do not agree to these
Terms, please do not use our Sites or Services. Please read these Terms carefully and make sure that you
understand them. These Terms are in addition to any other agreements between you and TopstepTrader,
including our Privacy Policy, which can be found at http://www.topsteptrader.com/privacy-policy.

We reserve the right to modify or change these Terms a er providing notice to you. The form of such notice is
at our discretion. Any modification or change shall be e ective upon such notice. You agree to be bound by
any changes to these Terms when you use our Sites or Services a er receipt of such notice, or you shall
discontinue your use of our Sites or Services. Please check these Terms regularly for changes.

1. Contact Information

If you have any questions or comments or seek any additional information on TopstepTrader, please email
support@topsteptrader.com. You may also call us at (888) 407-1611 or write to us at:

TopstepTrader, LLC
130 S. Je erson St., Suite 200
Chicago, Illinois 60661

We operate the following website: www.topsteptrader.com

2. Eligibility

You represent and warrant that you are at least 18 years of age. In jurisdictions, territories and locations where
the minimum age for permissible use of the Sites or Services is greater than 18 years of age, you represent
and warrant that you meet the age requirement for the minimum age for permissible use of the Sites or
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 3 of 86 PageID #:2048


Services. If you are under the minimum age for permissible use of the Sites or Services in your jurisdiction,
territory or location, you may not utilize the Sites or Services.

You represent and warrant that you have not been convicted of a felony, disciplined by the National Futures
Association or disciplined by the U.S. Commodity Futures Trading Commission. You represent and warrant
that you do not have an outstanding balance with a trading firm. If you are a convicted felon, have been
disciplined by the National Futures Association, have been disciplined by the U.S. Commodity Futures
Trading Commission, or have an outstanding balance with a trading firm, you are not eligible to use the Sites
or Services.

You are solely responsible for ensuring that these Terms are in compliance with all laws, rules and regulations
applicable to you. The right to access the Sites or Services is revoked where these Terms or use of the Sites or
Services are prohibited or to the extent o ering, sale or provision of the Sites or Services conflicts with any
applicable law, rule or regulation. The Sites or Services are o ered only for your use, and not for the use or
benefit of any third party.

3. Not a Broker-Dealer

You acknowledge and agree that we are not a broker-dealer, as such term is used in United States financial
services regulations, and that we do not trade securities on our or another party’s behalf as part of the Sites or
Services, nor do we directly o er any financial advice of our own as part of the Sites or Services. You
acknowledge and agree that we are not liable for any losses or gains that may arise from your reliance upon
information provided through the Sites or Services or your interaction with other Users.

4. Reliance on Information Shown on our Sites or Services

The information presented on or through TopstepTrader Sites or Services includes financial and market
information. Such information is made available solely for entertainment and general information purposes.
We do not warrant the accuracy, completeness, timeliness or usefulness of such information and such
information has not been verified. Any reliance you place on such information is strictly at your own risk. We
do not invite that any action be taken upon the information we provide. We disclaim all liability and
responsibility arising from any reliance placed on such materials by you or any other visitor to our Sites or
Services, or by anyone who may be informed of any of its contents.

The information presented has been prepared without regard to individual investment objectives, financial
situations or means. Such information is not intended to constitute investment advice and is not designed to
meet your personal financial situation. Many of the investments described on or through our Sites or Services
involve significant risks, and any discussion of risks contained on the Sites or Services should not be
considered a complete discussion of risks involved. We recommend that you consult with your financial
advisers about investment options and whether any investment may be appropriate for your specific needs
prior to making any investments. You acknowledge and agree that you have sole responsibility for your
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 4 of 86 PageID #:2049


investment decisions and that you should not rely solely on any information provided through the Sites or
Service with regard to any investment decisions you make.

The information and material provided on the Sites or Services is not to be construed as an o er to buy or
sell, or the solicitation of an o er to buy or sell, any security, financial product or instrument, or to participate
in any particular trading strategy.

We use reasonable e orts to maintain the Sites or Services, but we are not responsible for any defects or
failures associated with the Sites or Services, any content posted on the Sites or Services, any widgets or
similar applications use, or any damages (including lost profits or other consequential damages, even if we
have been informed of the same) that may result from any such defects or failures. The Sites or Services may
be inaccessible or inoperable for any reason, including, without limitation: (a) equipment malfunctions, (b)
periodic maintenance procedures or repairs which we may undertake from time to time, or (c) causes beyond
the control of TopstepTrader or which are not foreseeable by TopstepTrader.

Our Sites or Services include content provided by third parties, including materials provided by other users,
company owners, bloggers and third-party licensors, syndicators, aggregators and/or reporting services. All
statements and/or opinions expressed in any such materials, and all articles and responses to questions and
other content, other than the content provided by us, are solely the opinions and the responsibility of the
person or entity providing those materials. Any such materials do not necessarily reflect our opinion and have
not been verified by us. The information in such publications may become outdated, and we have no
obligation to update it. We are not responsible or liable to you or any third party for the content or accuracy
of any materials provided by any third parties whether shown on the Sites or Services or otherwise.

If any of our sites contain links to other sites and resources provided by third parties, those links are provided
for your convenience only. This includes links contained in advertisements, including banner advertisements
and sponsored links. We have no control over the contents of those sites or resources, and accept no
responsibility for them or for any loss or damage that may arise from your use of them. If you decide to access
any of the third party websites linked to our Sites or Services, you do so entirely at your own risk and subject
to the terms of use for such websites.

TopstepTrader does not promote any financial instruments on the Sites or Services. TopstepTrader does not
receive any compensation from companies whose financial instruments appear on the Sites or Services and
TopstepTrader has no financial interest in the outcome of any trades mentioned in the Sites or Services.

We take no responsibility and assume no liability for any User Content. We have no obligation to pre-screen
or monitor User Content. We reserve the right to delete or edit User Content, in whole or in part, in our sole
discretion at any time and without notice.

5. Commodity Futures Trading Commission Disclaimer
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 5 of 86 PageID #:2050


CFTC RULE 4.41 – ALL HYPOTHETICAL OR SIMULATED PERFORMANCE RESULTS HAVE CERTAIN LIMITATIONS.
UNLIKE THE RESULTS SHOWN IN AN ACTUAL PERFORMANCE RECORD, SIMULATED RESULTS DO NOT
REPRESENT ACTUAL TRADING. ALSO, BECAUSE THE TRADES HAVE NOT ACTUALLY BEEN EXECUTED, THE
RESULTS MAY HAVE UNDER-OR OVER-COMPENSATED FOR THE IMPACT, IF ANY, OF CERTAIN MARKET
FACTORS, SUCH AS LACK OF LIQUIDITY. SIMULATED OR HYPOTHETICAL TRADING PROGRAMS IN GENERAL
ARE ALSO SUBJECT TO THE FACT THAT THEY ARE DESIGNED WITH THE BENEFIT OF HINDSIGHT. NO
REPRESENTATION IS BEING MADE THAT ANY ACCOUNT WILL OR IS LIKELY TO ACHIEVE PROFITS OR LOSSES
SIMILAR TO THOSE BEING SHOWN.

6. Third Party Services

Our Sites or Services may refer to products or services that are not under the control of or maintained by
TopstepTrader (“Third Party Services”). You are responsible for performing your own due diligence and
evaluating whether any Third Party Services are appropriate for you. You agree that TopstepTrader is not
responsible for any injury, harm, damages, or negative experience you may encounter by accessing or using
such Third Party Services. If you access, visit, or use any Third Party Services referred to on our Sites or
Services, you do so at your own risk.

7. Disclaimer of Warranties

ALL INFORMATION AND OTHER MATERIALS PRESENT ON THE SITE (THE “CONTENT”), INCLUDING
TOPSTEPTRADER’S PRODUCTS AND SERVICES, TEXT, IMAGES, PHOTOS, TRADING IDEAS, OPINIONS, RUMORS,
ADVICE, CHARTS, FINANCIAL INFORMATION, RATINGS, REVIEWS, OR SIMILAR INFORMATION ARE PROVIDED
“AS IS,” WITHOUT ANY WARRANTIES CONCERNING THE CONTENT’S NATURE OR ACCURACY, EITHER WHEN
POSTED OR AS A RESULT OF THE PASSAGE OF TIME, AND WITHOUT ANY REPRESENTATIONS OR
GUARANTEES.

TOPSTEPTRADER EXPRESSLY DISCLAIMS ALL WARRANTIES, EXPRESS OR IMPLIED, WITH RESPECT TO THE
CONTENT INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, AND NON-INFRINGEMENT. TOPSTEPTRADER DOES NOT WARRANT OR REPRESENT
THAT THE FUNCTIONS OR OPERATIONS OF TOPSTEPTRADER SITES OR SERVICES WILL BE UNINTERRUPTED
OR ERROR-FREE, THAT DEFECTS WILL BE CORRECTED, OR THAT TOPSTEPTRADER SITES OR SERVICES, ITS
SERVERS OR ANY E-MAIL SENT FROM TOPSTEPTRADER ARE FREE OF VIRUSES OR OTHER HARMFUL
COMPONENTS.

TOPSTEPTRADER DOES NOT WARRANT THAT YOUR ACTIVITIES OR USE OF THE SITES OR SERVICES ARE
LAWFUL IN ANY PARTICULAR JURISDICTION AND, IN ANY EVENT, TOPSTEPTRADER SPECIFICALLY DISCLAIMS
SUCH WARRANTIES. BY USING THE SITES OR SERVICES, YOU ACT AT YOUR OWN RISK, AND YOU REPRESENT
AND WARRANT THAT YOUR ACTIVITIES ARE LAWFUL IN EVERY JURISDICTION WHERE YOU ACCESS OR USE
THE SITES OR SERVICES.
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 6 of 86 PageID #:2051


WITHOUT LIMITING THE ABOVE, TOPSTEPTRADER DISCLAIMS ALL WARRANTIES, EXPRESS OR IMPLIED,
INCLUDING WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, TITLE, NON-
INFRINGEMENT, SECURITY OR ACCURACY WITH REGARD TO ANY WEB SITE OWNED BY A THIRD PARTY TO
WHICH OR FROM WHICH OUR SITE IS LINKED (“LINKED WEB SITE”). TOPSTEPTRADER DOES NOT ENDORSE
AND IS NOT RESPONSIBLE FOR THE CAPABILITIES OR RELIABILITY OF ANY PRODUCT OR SERVICE OBTAINED
FROM A LINKED WEB SITE.

THE INFORMATION, PRODUCTS, SOFTWARE OR SERVICE DESCRIPTIONS PUBLISHED ON OUR SITE OR A
LINKED WEB SITE MAY INCLUDE INACCURACIES OR TYPOGRAPHICAL ERRORS. THE COMPANY DISCLAIMS
LIABILITY FOR SUCH ERRORS AND DOES NOT WARRANT OR REPRESENT THAT THE CONTENT ON OUR SITE
OR A LINKED WEB SITE IS UPDATED OR COMPLETE. TOPSTEPTRADER HAS NO OBLIGATION TO UPDATE ANY
CONTENT ON OUR SITE AND MAY CHANGE OR IMPROVE OUR SITE AT ANY TIME WITHOUT NOTICE.

WE DO NOT ENDORSE AND ARE NOT RESPONSIBLE FOR THE ACCURACY OR RELIABILITY OF ANY OPINION,
ADVICE OR STATEMENT MADE THROUGH OUR SITES OR SERVICES BY ANY PARTY OTHER THAN US.

8. Limitation of Liabilities

IN NO EVENT WILL TOPSTEPTRADER, ITS PARENTS, SUBSIDIARIES, PARTNERS, OR AFFILIATES, OR THE
RESPECTIVE SERVICE PROVIDERS, EMPLOYEES, AGENTS, OFFICERS AND DIRECTORS OF EACH BE LIABLE TO
YOU FOR ANY INCIDENTAL, SPECIAL, PUNITIVE, EXEMPLARY, OR CONSEQUENTIAL DAMAGES, INCLUDING ANY
LOST PROFITS OR LOST OPPORTUNITY, EVEN IF YOU HAVE NOTIFIED US ABOUT THE POSSIBILITY OF SUCH
DAMAGES, OR FOR ANY CLAIMS BY ANY THIRD PARTIES, ARISING OUT OF OR IN ANY WAY RELATED TO THE
ACCESS, USE OR CONTENT OF OUR SITES OR SERVICES OR A LINKED WEB SITE WHETHER SUCH CLAIMS ARE
BROUGHT UNDER ANY THEORY OF LAW OR EQUITY.

IN NO EVENT WILL OUR LIABILITY FOR ANY CLAIM OF ANY KIND, WHETHER BASED IN CONTRACT, WARRANTY,
TORT, STRICT LIABILITY OR OTHERWISE, FOR ANY LOSSES OR DAMAGES ARISING OUT OF, CONNECTED WITH,
OR RESULTING FROM, THESE TERMS OR THE PERFORMANCE OR BREACH THEREOF, OR ANY PRODUCT OR
SERVICE OR THE USE OR PERFORMANCE THEREOF, EXCEED THE GREATER OF (A) THE AMOUNT PAID BY YOU
TO TOPSTEPTRADER IN THE IMMEDIATELY PRECEDING MONTH FOR TOPSTEPTRADER’S PRODUCTS OR
SERVICES AND (B) $100.

THIS LIMITATION ON LIABILITY INCLUDES TRANSMISSION OF VIRUSES THAT INFECTS YOUR EQUIPMENT,
MECHANICAL OR ELECTRONIC EQUIPMENT FAILURE, FAILURE OF COMMUNICATION LINES, TELEPHONE OR
OTHER INTERCONNECTS, UNAUTHORIZED ACCESS, THEFT, OPERATIONAL ERRORS, OR ANY FORCE MAJEURE.

9. Purchases; Credit Card and Other Financial Information
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 7 of 86 PageID #:2052


TopstepTrader allows Users to place orders for subscriptions or other services through the Sites or Services or
through a third-party a iliate (“Orders”).

Upon placing an Order, you shall pay to Company the purchase price as set forth in the “Order Summary”
page or similar ordering mechanism. Company or its third-party a iliates may utilize the services of certain
third-party payment processors to process payments of credit cards and other accepted methods of
payment. Your purchase is subject to any additional terms and conditions imposed by such third-party
payment processors. The purchase price and any applicable fees or taxes shall be applied to your chosen
method of payment upon submission of your Order.

Upon the purchase of an Order or other service rendered by TopstepTrader through the Sites or Services, you
acknowledge that the TopstepTrader will provide availability and access to the particular service requested.
Your participation in, or failure to use such purchased service does not entitle you to a refund.

Prices and availability of products are subject to change without notice. Errors will be corrected where
discovered, and Company reserves the right to revoke any stated o er and to correct any errors, inaccuracies
or omissions including a er an Order has been submitted and whether or not the Order has been confirmed
and your payment method accepted and charged. In the event your payment method has been accepted and
charged, Company will issue you the appropriate credit within a reasonable time a er your Order has been
revoked.

TopstepTrader accepts payments via credit and debit card through our Sites or Services. Certain credit and
debit card information, including your card information, phone number, address, name and email address
(“Credit Card Information”) will be encrypted and received via a secure page. You represent and warrant that
you are an authorized signatory of the credit or debit card or other method of payment that you provide to
TopstepTrader or its third-party payment processor to pay any fees or taxes related to your purchases of
products or services through our Sites or Services.

We use industry standard technology and commercially reasonable measures to protect Credit Card
Information from misuse. TopstepTrader may utilize the services of certain third-party payment processors to
process payments of credit cards and other accepted methods of payment.

If you are directed to a third-party website to make purchases, your purchase will be governed by the terms of
such third party website. If you desire to supply Credit Card Information, Identity Information or financial
information to any third party service provider or to any Linked Web Site, you do so at your own risk and
discretion. We strongly recommend you review the terms and conditions and privacy policy of any third party
before providing such information.

10. Linking to Our Sites
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 8 of 86 PageID #:2053


You may link to our Sites or Services, provided you do so in a way that is fair, in compliance with all applicable
laws, rules and regulations, and does not damage our reputation; provided that you shall not establish a link
in such a way as to suggest any form of association, approval or endorsement on our part without our express
written consent.

11. Restricted Sites and Passwords/User Registration

Certain functionality of the Sites or Services are limited to Users who have registered an account for the
applicable services. Such Users will have a unique User ID and password combination (“User Credentials”)
and will have provided Identity Information (collectively, a “User Account”). You represent and warrant that all
account information is truthful and accurate and you will update such information to ensure its accuracy. You
represent and warrant that you have provided a valid email address at the time of registration. You agree that
all information you provide to register with our Sites or Services or otherwise, including through the use of
any interactive features on our Sites or Services, is governed by our Privacy Policy, and you consent to all
actions we take with respect to your information consistent with our Privacy Policy. You may update your
personal information through our Sites or Services or by contacting us via the contact information provided
above.

Users are responsible for the confidentiality of User Credentials, and shall be responsible and liable for access
to or use of the Sites or Services by such User or any other person or entity using such User Credentials
(whether or not such access has been authorized). You agree that access to the User Account will be limited
to the User which subscribed under such account. You agree to immediately notify TopstepTrader if you learn
of or have reason to suspect any unauthorized use of your account or any other breach of security.

You acknowledge and agree that TopstepTrader is authorized to act on all instructions received through your
User Account, and that TopstepTrader may, but is not obligated to, deny access or block any transaction
made through use of your User Account without prior notice if we believe that such User Account is being
used by someone other than its registered User, or for any other reason.

TopstepTrader reserves the right to refuse to grant particular User Credentials to any individual for any
reason, including, without limitation, if such User Credentials impersonates someone else, is protected by
trademark or other proprietary rights law, or is vulgar or o ensive. TopstepTrader shall not be liable for any
loss or damage arising from a User’s failure to comply with this Section.

12. Submitting Content or Comments on Our Sites

If you submit blogs, comments, or other content intended for public display on any of our Sites or Services
(“User Content”), you agree to abide by these Terms.
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 9 of 86 PageID #:2054


You shall not submit User Content on our Sites or Services that: is illegal, indecent, profane (either directly or
indirectly through partially obscured words, letters, phrases, terminology or the like), threatening,
defamatory, derogatory, counter to TopstepTrader’s Privacy Policy or otherwise injurious to TopstepTrader or
any third parties, constitute commercial solicitation or advertising (except where pre-approved in writing by
TopstepTrader), or consist primarily of an unsolicited electronic mass mailing.

User Content shall not be abusive or harassing to any person. You may not submit materials that are or
purport to be the personally identifiable information about others, such as full name, postal address, email
address, telephone number or any other personal attribute which would constitute an invasion of privacy.
User Content shall not be obscene, objectionable, o ensive, tortious, deceptive, fraudulent, or invasive of
another’s privacy or publicity rights.

TopstepTrader does not guarantee that User Content will remain private, even if such User Content is entered
into a password-protected section of the Sites or Services. Accordingly, you should not provide User Content
that you want protected from others.

User Content shall not contain a so ware virus, worm, spyware, Trojan horse or other computer code, file or
program designed to interrupt, impair, destroy or limit the functionality of any computer so ware or
hardware or telecommunications equipment.

User Content shall not infringe in any manner on the copyright, trademark or other intellectual property
rights of any person or entity, or that contain privileged, confidential, proprietary or trade-secret information
of any individual or entity, or that may violate the legal right of any person or entity in any jurisdiction or
locale.

If you wish to submit materials to any of our Sites or Services, you are prohibited from impersonating any
other individual or entity, or otherwise misleading the same as to the origin of the comments.

You agree to disclose any conflict of interest, ownership interest, business, employment or other financial
relationship you have with any company or financial instruments named in any User Content. You agree not
to submit User Content with the intent to increase or decrease a financial instrument’s price and sell or
purchase such financial instrument as a result of such increase or decrease. You agree to disclose any intent
to purchase or sell a stock within three trading days of submitting User Content that discusses that stock.

You shall not submit User Content that violates any local, state, national or international law, including but
not limited to regulations of the U.S. Securities and Exchange Commission and the U.S. Commodity Futures
Trading Commission or other securities laws and the rules of any securities exchange. You agree that User
Content will not constitute illegal activity, give rise to civil liability, or violate the contractual, personal,
intellectual property or other rights of any other party.
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 10 of 86 PageID #:2055


13. License

By submitting User Content, you grant TopstepTrader an unrestricted, worldwide, non-exclusive, irrevocable,
perpetual, fully paid-up and royalty-free right and license, in any form or format, in whole or in part, to host,
store, maintain, use, reproduce, distribute, display, publish, modify, prepare derivative works of, and
otherwise exploit all or any portion of such User Content on the Sites or Services and on any other websites,
channels, or distribution platforms, for any purpose whatsoever, without accounting, notification, credit or
other obligation to you, and the right to license and sublicense and authorize others to exercise any of the
rights granted hereunder to TopstepTrader, in its sole discretion. All rights, licenses and privileges herein
described are granted to TopstepTrader immediately upon submission of User Content and shall continue
perpetually and indefinitely.

14. Contests

From time to time, TopstepTrader may o er games and contests through its Sites or Services (individually, a
“Contest” and collectively, the “Contests”). Contests shall be supplemented by any o icial rules associated
with a particular Contest (the “O icial Rules”).

    a. Entry. Contests may be free to enter or may have an entry fee. All payments for Contests are final and
    no refunds will be issued. All entries to the Contests by a User Account will be deemed to have been
    submitted by the User whose User Account submitted such entry.

    b. Conditions of Participation. Only such Users with User Accounts may participate in the Contests. By
    entering a Contest, you agree to be bound by all O icial Rules and any decisions of TopstepTrader, which
    shall be final and binding in all respects. TopstepTrader may (i) disqualify any entrant from a Contest or
    (ii) refuse to award benefits or prizes or require the return of any prizes, if TopstepTrader determines, in
    its sole discretion, that an entrant has engaged in conduct that the Company deems improper, unfair or
    otherwise adverse to the operation of the Contest, violates the O icial Rules, or is in any way detrimental
    to other entrants. TopstepTrader reserves the right to deny any contestant the ability to participate in
    Contests for any reason whatsoever.

    If for any reason a Contest is not capable of running as originally planned, or if a Contest, computer
    application, or website associated therewith (or any portion thereof) becomes corrupted or does not
    allow the proper entry to a Contest in accordance with these Terms or the O icial Rules, or if infection by
    a computer (or similar) virus, bug, tampering, unauthorized intervention, actions by entrants, fraud,
    technical failures, or any other causes of any kind, in the sole opinion of TopstepTrader corrupts or
    a ects the administration, security, fairness, integrity, or proper conduct of a Contest, TopstepTrader
    reserves the right, at its sole discretion, to disqualify any individual implicated in such action and/or to
    cancel, terminate, extend, modify or suspend the Contest, and select the winner(s) from all eligible
    entries received. If such cancellation, termination, modification or suspension occurs, notification will be
    posted on the Sites or Services.
   Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 11 of 86 PageID #:2056


To be eligible to enter any contest or receive any prize, a User may be required to provide TopstepTrader
with additional documentation and/or information to verify the identity of the User, and to provide proof
that all eligibility requirements are met. In the event of a dispute as to the identity or eligibility of User,
TopstepTrader will, in its sole and absolute discretion, utilize certain information collected by
TopstepTrader to assist in verifying the identity and/or eligibility of such User.

c. Publicity/Privacy Release. Where legal, both entrants and winner consent to the use of their name,
voice, likeness and photograph in and in connection with the development, production, distribution
and/or exploitation of any Contest or the Sites or Services. Winners agree that from the date of
notification by TopstepTrader of their status as a potential winner and continuing until such time when
TopstepTrader informs them that they no longer need to do so that they will make themselves available
to TopstepTrader for publicity, advertising, and promotion activities.

d. Contest of Skill. Contests o ered through the Sites or Services are contests of skill. Winners are
determined by the objective criteria described in the O icial Rules, deadlines, scoring and any other
applicable documentation associated with the Contest. From all entries received for each Contest,
winners are determined by the individuals who use their skill and knowledge of relevant trading
information and trading concepts to accumulate the most points according to the corresponding scoring
rules. The Sites or Services may not be used for any form of illicit gambling.

e. Results. Contest results and prize calculations are based on the final statistics and scoring results at
the completion of each individual Contest. Once Contest results are reviewed and graded, prizes will be
awarded. The scoring results of a Contest will not be changed regardless of any o icial statistics or
adjustments made at later times or dates, except in TopstepTrader’s sole discretion.

f. Payment and Withdrawal of Prizes. Winners will be posted on the TopstepTrader website. Entrants
may be required to complete an a idavit of eligibility and a liability or publicity release and appropriate
tax forms. Entrants may also be required to provide identification, including but not limited to a Driver’s
License, proof of residence and/or any information relating to payment or deposit accounts as
reasonably requested by TopstepTrader in order to complete the withdrawal of prizes. TopstepTrader
may, in its sole discretion, require a User to execute a release of any claims as a condition to being
awarded any prize or receiving any payout. Failure to comply with this requirement may result in
disqualification and forfeiture of any prizes. Disqualification or forfeiture of any prizes may also occur if it
is determined any such entrant did not comply with these Terms in any manner.

g. Taxes. All taxes associated with the receipt of any prize are the sole responsibility of the winner. In the
event that the awarding of any prizes to winners of Contests is challenged by any legal authority,
TopstepTrader reserves the right in its sole discretion to determine whether or not to award such prizes.

h. Substitution of Prizes. No substitution or transfer of prize is permitted, except that TopstepTrader
reserves the right to substitute a prize of equal value or greater if the advertised prize is unavailable. All
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 12 of 86 PageID #:2057


     prizes are awarded “as is” and without warranty of any kind, express or implied (including, without
     limitation, any implied warranty of merchantability for a particular purpose).

15. Intellectual Property, Trademarks and Copyrights

TopstepTrader Sites or Services and their entire contents, features, and functionality (including, all
information, so ware, text, displays, images, video and audio, and the design, selection and arrangement
thereof), are owned by TopstepTrader, its licensors or other providers of such material and are protected by
United States and international copyright, trademark, patent, trade secret, and other intellectual property or
proprietary rights laws and treaties. You shall not challenge the ownership or rights in the content on
TopstepTrader Sites or Services or any component thereof.

You are granted a nonexclusive, nontransferable, limited and revocable right to access, use, display and
navigate our Sites or Services solely for your personal, non-commercial and non-public use. You shall not
reproduce, distribute, modify, create derivative works of, publicly display, publicly perform, republish,
download, store or transmit any of our material, except for your personal, non-commercial and non-public
use. You shall not access or use for any commercial purposes any part of our Sites or Services.

If you print, copy, modify, download, or otherwise use or provide any other person with access to any part of
our Sites or Services in breach of these Terms, your right to use TopstepTrader Sites or Services will cease
immediately and you must, at our option, return or destroy any copies of the materials you have made. No
right, title, or interest in or to our Sites or Services or any content on our Sites or Services is transferred to you,
and all rights not expressly granted are reserved by TopstepTrader. Any use of our Sites or Services not
expressly permitted by these Terms is a breach of these Terms and may violate copyright, trademark, and
other laws.

The trademarks, service marks, slogans, logos, trade dress and other identifiers (“Marks”) displayed on
TopstepTrader Sites or Services are the property of TopstepTrader, unless otherwise disclosed. You are
prohibited from using, removing, or altering any Marks for any purpose including use on other materials, in
presentations, as domain names, or as meta-tags, without our written permission.

Except as expressly provided above, no portion of our Sites or Services, their contents or any copyright,
trademark, trade name, service mark or any other proprietary information of TopstepTrader (collectively, the
“Intellectual Property”) displayed on TopstepTrader Sites or Services or on any of the Content may be
reproduced, altered, removed, transmitted, published or distributed, whether electronically, mechanically, by
photocopy, recording or otherwise, without the prior written permission of TopstepTrader. Use of any
TopstepTrader trademarks as metatags on any third-party site is strictly prohibited. You may not co-brand our
site or display our site in frames (or any of the Content via in-line links) without prior written permission from
TopstepTrader (“co-brand” means your display of any of the Intellectual Property, or your taking of other
means of attribution or identification of TopstepTrader in such a manner reasonably likely to give a third party
the impression that you or the third party has the right to display, publish or distribute our Sites or Services or
        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 13 of 86 PageID #:2058


any Content). You agree to cooperate with TopstepTrader in causing any unauthorized co-branding, framing
or linking to immediately cease. You may not remove, modify or alter any copyright, trademark or patent
notice from any product delivered by us. You agree not to undertake any action that will interfere with or
diminish our right, title or interest in our Intellectual Property.

16. Digital Millennium Copyright Act

The following policy has been adopted pursuant to the Digital Millennium Copyright Act (found at
http://lcweb.loc.gov/copyright/legislation/dmca.pdf):

The address of the Designated Agent to Receive Notification of Claimed Infringement (“Designated Agent”)
can be found above under Section 1. If you believe that content or material provided through the Sites or
Services infringes a copyright, please send a notice containing the following information to the Designated
Agent:

    (i)  a physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive
    right that is allegedly infringed;

    (ii)  identification of the copyrighted work claimed to have been infringed, or, if multiple copyrighted
    works at a single online site are covered by a single notification, a representative list of such works at that
    site;

    (iii)  identification of the material that is claimed to be infringing or the subject of infringing activity and
    that is to be removed or access to which is to be disabled, and information reasonably su icient to
    permit us to locate the material;

    (iv)  information reasonably su icient to permit us to contact you, such as an address, telephone
    number, and, if available, an email address at which you may be contacted;

    (v)  a statement that you have a good faith belief that use of the material in the manner complained of is
    not authorized by the copyright owner, its agent, or the law; and

    (vi)  a statement that the information in the notification is accurate, and under penalty of perjury, that the
    complaining party is authorized to act on behalf of the owner of an exclusive right that is allegedly
    infringed.

17. Termination

Users may terminate receipt of any free service publications at any time by sending TopstepTrader a request
for removal from the relevant distribution list. All free service publication emails will include a link allowing a
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 14 of 86 PageID #:2059


User to unsubscribe. If you wish to terminate receipt of such publications, please use the link on the attached
email or see the contact information provided above.

TopstepTrader reserves the right to terminate your access to any of the TopstepTrader Sites or Services at any
time at its sole discretion. Such termination may result from a violation of the Terms or other referenced
agreements, unauthorized use or reproduction of any publication or information, or any other reason
determined in TopstepTrader’s sole discretion. If such access is terminated, you agree you will not attempt to
establish a new User Account under any name, real or assumed. All provision of these Terms shall survive
termination, including, without limitation, ownership provisions, warranty disclaimers, indemnities and
limitations of liability.

18. Jurisdiction and Enforceability

These Terms shall be governed by and construed in accordance with the laws of the State of Illinois and the
United States of America, without giving e ect to any principles of conflicts of law. You irrevocably consent to
the exclusive jurisdiction of the courts located in the State of Illinois in connection with any action arising out
of or related to these Terms or their subject matter. You waive any objection based on lack of personal
jurisdiction, place of residence, improper venue or forum non conveniens in any such action.

19. Force Majeure

We will not be liable or responsible for any failure to perform, or delay in performance of, any of our
obligations under these Terms that is caused by a Force Majeure Event. A “Force Majeure Event” means any
act or event beyond our reasonable control, including strikes, lock-outs or other industrial action by third
parties, civil commotion, riot, invasion, terrorist attack or threat of terrorist attack, war (whether declared or
not) or threat or preparation for war, fire, explosion, storm, flood, earthquake, subsidence, epidemic or other
natural disaster, or failure of public or private telecommunications networks or impossibility of the use of
railways, shipping, aircra , motor transport or other means of public or private transport. If a Force Majeure
Event takes place that a ects the performance of our obligations under these Terms we will contact you as
soon as reasonably possible to notify you. Our obligations under these Terms will be suspended and the time
for performance of our obligations will be extended for the duration of a Force Majeure Event.

20. Waiver of Class Action Rights

IN ANY DISPUTE, NEITHER YOU NOR ANY OTHER PERSON SHALL BE ENTITLED TO JOIN OR CONSOLIDATE
CLAIMS BY OR AGAINST OTHER AFFILIATES OR PERSONS, OR ARBITRATE ANY CLAIM AS A REPRESENTATIVE
OR CLASS ACTION OR IN A PRIVATE ATTORNEY GENERAL CAPACITY. YOU ACKNOWLEDGE THAT YOU ARE
GIVING UP YOUR RIGHTS TO PARTICIPATE IN A CLASS ACTION OR REPRESENTATIVE ACTION WITH RESPECT
TO ANY SUCH CLAIM.
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 15 of 86 PageID #:2060


21. Indemnification

You agree to indemnify, defend, and hold TopstepTrader, its parents, subsidiaries, a iliates, any related
companies, suppliers, licensors and partners, and the o icers, directors, employees, agents and
representatives of each (collectively, the “TopstepTrader Parties”) harmless, including costs, liabilities and
legal fees, from any claim or demand made by any third party arising out of or relating to (i) your access to or
use of our Sites or Services, (ii) your violation of the Terms, (iii) the infringement by you, or any third party
using your account, of any intellectual property or other right of any person or entity, (iv) any funding of your
account and any payment methods used. TopstepTrader reserves the right, at your expense, to assume the
exclusive defense and control of any matter for which you are required to indemnify us and you agree to
cooperate with our defense of these claims. You agree not to settle any such matter without the prior written
consent of TopstepTrader. TopstepTrader will use reasonable e orts to notify you of any such claim, action or
proceeding upon becoming aware of it.

22. Other Prohibited Uses

You are solely responsible for any and all acts and omissions that occur under your User Account, and you
agree not to engage in unacceptable use of the Sites or Services or any User Content including:

           Posting, storing or disseminating any unsolicited or unauthorized advertising, promotional
           materials, junk mail, spam, chain letters or other fraudulent schemes, or any other form of
           solicitation
           Using any manual or automated so ware, devices or other processes to “crawl” or “spider” any
           web pages contained in the Sites or Services
           Using the Sites or Services to gain competitive intelligence about TopstepTrader or the Sites or
           Services to compete with TopstepTrader or its a iliates
           Harvesting or otherwise collecting any information about other users, including, without
           limitation, email addresses or other contact information

23. Other Important Terms

These Terms are in addition to any other agreements between you and TopstepTrader.

Nothing in these Terms shall create or be deemed to create a partnership, agency, trust arrangement,
fiduciary relationship or joint venture between you and TopstepTrader. Neither you nor TopstepTrader shall
have any right, power or authority to act or create any obligation, express or implied, on behalf of the other
party.

You agree that breach of the provisions of this Agreement would cause irreparable harm and significant injury
to TopstepTrader which would be both di icult to ascertain and which would not be compensable by
damages alone. As such, you agree that TopstepTrader has the right to enforce the provisions of this
                Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 16 of 86 PageID #:2061


     Agreement by injunction (without necessity of posting bond), specific performance or other equitable relief
     without prejudice to any other rights and remedies TopstepTrader may have for your breach of this
     Agreement.

     We reserve the right at any time in our sole discretion to: modify, suspend or discontinue our Sites or Services
     or any service, content, feature or product o ered through our Sites or Services, with or without notice;
     charge fees in connection with the use of our Sites or Services; modify and/or waive any fees charged in
     connection with our Sites or Services; and/or o er opportunities to some or all users of our Sites or Services.
     You agree that we shall not be liable to you or to any third party for any modification, suspension or
     discontinuance of our Sites or Services, or any service, content, feature or product o ered through our Sites
     or Services.

     Each of the paragraphs of these Terms operates separately. If any court or relevant authority decides that any
     of them are unlawful or unenforceable, the remaining paragraphs will remain in full force and e ect.

     If we fail to insist that you perform any of your obligations under these Terms, or if we do not enforce our
     rights against you, or if we delay in doing so, that will not mean that we have waived our rights against you
     and will not mean that you do not have to comply with those obligations. If we do waive a default by you, we
     will only do so in writing, and that will not mean that we will automatically waive any later default by you.

     We may terminate these Terms at any time without notice, and accordingly may deny you access to our Sites
     or Services, if in our sole judgment you fail to comply with any term or provision of these Terms. The
     obligations and liabilities of the parties incurred prior to the termination date shall survive the termination of
     these Terms for all purposes.

     24. Feedback

     TopstepTrader welcomes your comments, feedback, information or other materials regarding the Sites or
     Services (collectively, “Feedback”). If you submit Feedback to TopstepTrader, please note that your Feedback
     shall become the property of the Company, and you hereby irrevocably assign to TopstepTrader all right, title
     and interest in and to the Feedback and all copyrights and other intellectual property rights embodied in
     such Feedback on a worldwide basis.

     © 2016 TopstepTrader, LLC. All rights reserved.

 



    Log In                                                      About

    Sign Up                                                     Careers

    Learn How                                                   Privacy Policy
               Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 17 of 86 PageID #:2062


   Learn How                                                                          Privacy Policy

   A iliate Program                                                                   Terms of Use


   Help Center                                                                        Refer a Friend

   Status Updates                                                                     Apparel Shop
   Calendar                                                                           English Blog

   Contact                                                                            Блог [RU]


   Facebook

   Twitter

   LinkedIn

   YouTube



                                                                                    Join Our
                                                                                    Chat
                                                                                    Community




                                   TopstepTrader, LLC 130 South Je erson Suite 200 Chicago, Illinois 60661 1 (888) 407-1611

                                                   We do not o er commodity trading advice or recommendations.

                                                           © 2017 – TopstepTrader, LLC All rights reserved.




CFTC Rules 4.41 - Hypothetical or Simulated performance results have certain limitations. Unlike an actual performance record, simulated results do not represent
actual trading. Also, because the trades have not actually been executed, the results may have under-or-over compensated for the impact, if any, of certain market
factors, such as lack of liquidity. Simulated trading programs in general are also subject to the fact that they are designed with the bene t of hindsight. No
representation is being made that any account will or is likely to achieve pro t or losses similar to those shown.
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 18 of 86 PageID #:2063




            EXHIBIT C
Become a Funded Trader - TopstepTrader
                                                  Case: 1:17-cv-04412                 Document #: 81-2 Filed: 05/15/18 Page 19 of 86 PageID
                                                                                                                                          JUL#:2064
                                                            https://www.topsteptrader.com/terms-of-service           Go                       MAR MAR
                                                                                                                                                                              f   ⍰
                                           8 captures                                                                                        25                                   ⍰
                                           24 Nov 2013 - 28 Oct 2016                                                                    2014 2015 2016            ⍰ About this capture



               TOPSTEPTRADER                                                                                                                Help         Log In   Sign Up




                               Terms of Use
                               (Effective: November 14, 2012)

                               High Risk Investment Warning: Trading foreign exchange on margin carries a high level of risk, and may not be
                               suitable for all investors. The high degree of leverage can work against you as well as for you. Before deciding to
                               participate in trading foreign exchange you should carefully consider your investment objectives, level of experience,
                               and risk appetite.
                               You should be aware of all the risks associated with foreign exchange trading, and seek advice from an independent
                               financial advisor if you have any doubts.
                               The TopstepTrader.com website and any derivative website on which these Terms of Use are posted are owned
                               and operated by TopstepTrader, LLC an Illinois limited liability company (“Company”). Company has adopted these
                               Terms of Use (“Terms of Use” or “Agreement”) to make you aware of the terms and conditions of your use of the
                               http://www.TopstepTrader.com website, any derivative websites on which these Terms of Use are posted and any
                               Content or other services that are offered or provided via the aforementioned websites (collectively, the “Website”).
                                In the event that you purport to be the agent of, represent, or otherwise act on behalf of an entity or any other
                               person, references to “you,” “your” or “User” shall include such entity or person in addition to you, and your
                               acceptance of this Agreement shall constitute acceptance on behalf of such entity or person.
                               Company reserves the right, at its discretion, to change, modify, add or remove portions of these Terms of Use at
                               any time by posting such changes to this page. In addition, if you have previously registered an account, Company
                               will endeavor to notify you of such changes via the email address you provided to Company. You understand that
                               you have the affirmative obligation to check these Terms of Use periodically for changes, and you hereby agree to
                               periodically review these Terms of Use for such changes. The continued use of the Website following the posting of
                               changes to these Terms of Use will constitute your acceptance of those changes. The most current version of these
                               Terms of Use can be reviewed at http://www.topsteptrader.com/TermsCondition.
                               By using OR OTHERWISE ACCESSING the Website, creating, registering or accessing an account, posting or
                               downloading Content, WIDgets or any other information to or from the Website, purchasing any SUBSCRIPTIONS
                               OR services via the Website or manifesting your assent to these Terms of Use in any other manner, you hereby
                               UNEQUIVOCALLY AND expressly agree to, and shall be subject to, these Terms of Use. If you do not
                               UNEQUIVOCALLY agree to these Terms of Use, you may not use OR OTHERWISE ACCESS the Website, create,

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                            Case: an
                               register or access 1:17-cv-04412
                                                     account, postDocument  #: Content,
                                                                  or download  81-2 Filed: 05/15/18
                                                                                        Widgets     Page
                                                                                                or any    20information
                                                                                                       other of 86 PageID
                                                                                                                        to or#:2065
                                                                                                                              from the Website or
                               purchase any SUBSCRIPTIONS OR services via the Website.

                               General Terms of Use and Restrictions on Use
                               Company hereby grants you a limited, nonexclusive, nonassignable, nontransferable license to access and use the
                               Website solely for your own personal, non-commercial purposes, subject to your agreement to, compliance with and
                               satisfaction of these Terms of Use. In the event that you subscribe to certain services or Content provided by
                               Company via the Website on a subscription basis (the “Subscription Content”), upon payment of any applicable fees
                               or other charges associated with such subscription, Company grants you a limited, non-exclusive, nonassignable,
                               nontransferable license to access and use such Subscription Content for the term of the subscription solely for the
                               noncommercial, personal use of User subject to your agreement to, compliance with and satisfaction of these Terms
                               of Use. All rights not otherwise expressly granted by these Terms of Use are reserved by Company. If you do not
                               comply with the Terms of Use at any time, Company reserves the right to revoke the aforementioned license(s), limit
                               your access to the Website, restrict your ability to post or download Content, Widgets or order products and
                               services. You agree not to reproduce, duplicate, copy, distribute, transmit, sell, trade, resell or exploit for any
                               purpose any portion of or any information from the Website. You may not obscure or remove any proprietary rights
                               notices contained in or on the Content. You are solely responsible for providing, maintaining and ensuring the
                               compatibility of all hardware, software, electrical and other physical requirements necessary for your access to and
                               use of the Website or any part thereof. In addition to the above rights reserved by Company in the event that
                               damages result from non-compliance with the above, Company reserves the right to pursue any remedy available at
                               law.
                               Company may discontinue or alter any aspect of the Website, remove Content from the Website, disable
                               functionality, remove or alter Widgets, restrict the time the Website is available or restrict the amount of use
                               permitted at Company’s sole discretion and without prior notice or liability. You agree that Company may, under
                               certain circumstances, immediately suspend and/or terminate your access to the Website or any part thereof. Cause
                               for such measures shall include, without limitation: (a) breaches or violations of these Terms of Use or other
                               incorporated agreements or guidelines; (b) discontinuance or material modification to the Website; (c) unexpected
                               technical or security issues or problems; (d) extended periods of inactivity; and/or (e) engagement by you in
                               fraudulent or illegal activities. You further agree that such measures shall be taken in Company’s sole discretion and
                               without liability to you or any third party.
                               For purposes of these Terms of Use, references to “post” or “posting” shall refer to any manner of posting,
                               transmitting, uploading, providing, making available or otherwise transferring material or information.

                               Company Intellectual Property
                               Unless otherwise specifically noted in these Terms of Use, images, trademarks, service marks, logos and icons
                               displayed on the Website, including, without limitation, TopstepTrader™ and TopstepTrader.com™, are the property
                               of Company and/or its licensors and may not be used without Company’s prior written consent. Trademarks owned
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                            Case:
                               by third parties are 1:17-cv-04412    Document
                                                    the property of those       #: 81-2
                                                                           respective     Filed:
                                                                                      third      05/15/18
                                                                                            parties.      Page 21including,
                                                                                                     The Website,  of 86 PageID  #:2066
                                                                                                                            without limitation, the
                               Subscription Content, is the copyrighted property of Company, and it may not be reproduced, recreated, modified,
                               accessed or used in any manner or disseminated or distributed to any other party in violation of these Terms of Use.
                                Any unauthorized use of any Content or Widgets, whether owned by Company or other parties, may violate
                               copyright laws, trademark laws, privacy and publicity laws and communications regulations and statutes. You will
                               not copy, reverse engineer, disassemble, decompile, translate, modify, reproduce, republish, transmit, sell, offer for
                               sale, disseminate or redistribute the intellectual property found in the Website or any part thereof or grant any other
                               person or entity the right or access to do so.

                               Accounts
                               To receive access to certain aspects of the Website, you may be asked to register an account. In the event you
                               agree to register an account, you will select and/or receive a username and password upon providing registration
                               information and successfully completing the registration process. This account is personal to you, and you will not
                               share it or allow any other person to utilize your account. You are responsible for maintaining the confidentiality of
                               your username and password and are fully responsible for all activities that occur under your username and
                               password. You agree to immediately notify Company in the event (a) your registration information changes, or (b)
                               you learn of or have reason to suspect any unauthorized use of your account or any other breach of security. You
                               also agree that you will provide truthful and accurate information during the registration process. Company may
                               refuse to grant a particular username to you for any reason, including, without limitation, in the event Company
                               determines that such username impersonates someone else, is protected by trademark or other proprietary rights
                               law or is vulgar or otherwise offensive.

                               Content
                               You acknowledge that the Website may contain or provide access to information, software, photos, video, text,
                               graphics, music, sounds or other material provided by Company or third parties (collectively, “Content”) that are
                               protected by copyrights, patents, trademarks, trade secrets or other intellectual property laws, and that these rights
                               are valid and protected in all forms, media and technologies existing now or hereafter developed. For the avoidance
                               of doubt, references to Content shall include User Content and Subscription Content.
                               The Content posted by users via the Website other than Feedback (defined below) (“User Content”) is the
                               intellectual property of the specific users of the Website who post such User Content and their licensors, if any.
                                Company does not claim any ownership rights in such User Content. By posting User Content via the Website,
                               however, you hereby grant to Company a limited, transferable, nonexclusive, worldwide, perpetual, royalty-free and
                               fully-paid license to use, reproduce, modify, edit, adapt, publish, translate, display, distribute, sell, sublicense and
                               create derivative works and compilations incorporating such User Content.
                               Company does not generally monitor or otherwise remove User Content after it is posted on the Website except
                               under certain limited circumstances as required or permitted by law or otherwise in the sole discretion of Company.
                                In the event you would like to request that Company remove your User Content from the Website, please contact
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               Company atCase:     1:17-cv-04412 Document
                                             support@topsteptrader.com.        #: 81-2
                                                                           Please  noteFiled: 05/15/18
                                                                                        however,  that if Page 22 ofagrees,
                                                                                                          Company    86 PageID
                                                                                                                            in its #:2067
                                                                                                                                   sole discretion to
                               remove your User Content, such User Content may not be completely removed or may otherwise still be available to
                               others in the following circumstances: (a) your User Content has been incorporated into derivative works or
                               compilations created by Company or other parties; (b) such User Content has been retained in Company’s data
                               backup systems or for archival purposes; or (c) to the extent such User Content has been sold to or downloaded by
                               other persons and such persons retain your User Content.

                               Feedback
                               Company welcomes your comments, feedback, information, or materials regarding the Website, Content or
                               Company’s services (collectively, “Feedback”). If you submit Feedback to Company, please note that your
                               Feedback shall become the property of Company. By submitting your Feedback to Company, you agree to assign,
                               and hereby irrevocably assign to Company, all right, title, and interest in and to the Feedback and all copyrights and
                               other intellectual property rights embodied in such Feedback on a worldwide basis. Company shall be free to use
                               your Feedback on an unrestricted basis. You hereby assign and/or waive, as the case may be, any moral rights that
                               you may have in or to the Feedback.

                               Widgets
                               Please be aware that Company delivers Content on the Website via or allows third parties to post widgets provided
                               by third parties (“Widgets”). These Widgets are controlled by third party content providers (“Widget Providers”).
                                Company does not endorse and is not responsible or liable for any Content, advertising, products, or other
                               materials on or available through such Widgets. The Widgets may use “cookies” or otherwise gather or collect
                               information about you, including by asking you to provide information through such Widgets. The use of these
                               Widgets, as well as the privacy practices of the Widget Providers, are governed by the applicable Widget Providers’
                               separate terms of use and privacy policies, if any. Company strongly encourages you to review any separate terms
                               of use and privacy policies governing use of these Widgets.

                               Company’s Privacy Policy
                               Company collects, stores and uses data collected from you in accordance with Company’s Privacy Policy, located at
                               http://www.topsteptrader.com/privacypolicy The terms and conditions of the Privacy Policy are hereby expressly
                               incorporated into these Terms of Use.

                               Links
                               The Website may provide, or third parties may provide, links to other websites or resources on the Internet.
                                Because Company has no control over such websites or resources, you acknowledge and agree that Company is
                               not responsible for the availability of such external websites or resources, and Company does not endorse and is
                               not responsible or liable for any Content, advertising, products, or other materials on or available from such websites
                               or resources or for any privacy or other practices of the third parties operating those websites or resources. You
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                           Case: 1:17-cv-04412
                               further acknowledge and agree thatDocument
                                                                   Company #:   81-2
                                                                              shall notFiled: 05/15/18 Page
                                                                                        be responsible        23 directly
                                                                                                       or liable, of 86 PageID    #:2068
                                                                                                                          or indirectly, for any
                               damage or loss caused or alleged to be caused by or in connection with your use of or reliance on any such
                               Content, goods or services available on or through any such website or resource. Company strongly encourages
                               you to review any separate terms of use and privacy policies governing use of these third-party websites and
                               resources.

                               Purchases
                               Company may allow users to place Orders for subscriptions and/or services via the Website or through its third-
                               party affiliate. “Order” shall mean any order placed by a user for subscriptions and/or services via the Website that
                               is accepted by Company. In the event that you are a user placing an Order to purchase subscriptions and/or
                               services, you are subject to the additional terms of this section. Please note that in some cases, you may be
                               directed to a third-party website to make purchases. In such an event, not all of the purchase terms in this section
                               will apply, and your purchase may be governed by the terms of such third-party website. By making such
                               purchases, you hereby agree that Company has no responsibility, and shall have no liability, for any claim related to
                               your purchases on such third-party websites.
                               Upon placing an Order, you shall pay to Company the purchase price as set forth in the “Order Summary” page or
                               similar ordering mechanism. Company or its third-party affiliates may utilize the services of certain third-party
                               payment processors to process payments of credit cards and other accepted methods of payment. Your purchase
                               is subject to any additional terms and conditions imposed by such third-party payment processors. The purchase
                               price and any applicable fees or taxes shall be applied to your chosen method of payment upon submission of your
                               Order.
                               Upon the purchase of a Combine or other Service Rendered by the Company, User acknowledges that the
                               Company will provide availability and access to the particular service requested. The Company has only the
                               responsibility to provide access and availability to such service as described. User's participation in, or failure to use
                               Services Rendered by Company does not entitle User to a refund.
                               Prices and availability of products are subject to change without notice. Errors will be corrected where discovered,
                               and Company reserves the right to revoke any stated offer and to correct any errors, inaccuracies or omissions
                               including after an Order has been submitted and whether or not the Order has been confirmed and your payment
                               method accepted and charged. In the event your payment method has been accepted and charged, Company will
                               issue you the appropriate credit within a reasonable time after your Order has been revoked.
                               In the event you purchase subscriptions and/or services that embody or otherwise contain Subscription Content, you
                               agree to the following restrictions regarding such Subscription Content or other information contained or embodied
                               therein: (a) such Subscription Content (i) is the confidential information of Company, (ii) you may use the
                               Subscription Content for your personal or internal business needs only in accordance with the terms of this
                               Agreement, (iii) you may not disclose the Subscription Content to third parties, and (iv) you will use best efforts to
                               safeguard such Subscription Content from unauthorized use or disclosure; (b) you may not resell any Subscription

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                            Case: 1:17-cv-04412
                               Content or otherwise  profit from its Document    #: 81-2
                                                                     use or display;       Filed:
                                                                                      (c) you  may05/15/18
                                                                                                    not, nor Page   24allow
                                                                                                             will you  of 86any
                                                                                                                             PageID
                                                                                                                                other #:2069
                                                                                                                                      party to, reproduce,
                               modify, edit, adapt, publish, translate, display, distribute, sell, sublicense or create derivative works or compilations
                               incorporating such Subscription Content; (d) you will not otherwise violate any additional legal or contractual
                               restrictions governing use of the Subscription Content; and (e) you will not obscure or remove any proprietary rights
                               notices contained in or on the Subscription Content.

                               User Representations
                               You hereby represent and warrant to Company that: (a) you (i) have reached the age of majority in the jurisdiction
                               where you reside (generally 18, 19 or 21 years of age depending on the jurisdiction), (ii) are an emancipated minor
                               under the laws of your jurisdiction of domicile and/or residence, (iii) possess legal parental or guardian consent, or
                               (iv) otherwise have the power and authority to enter into and perform your obligations under this Agreement; (b) all
                               information provided by you to Company is truthful, accurate and complete; (c) you are an authorized signatory of
                               the credit or debit card or other method of payment that you provide to Company or its third-party payment
                               processor to pay the purchase price and any applicable fees or taxes related to your purchases of products and/or
                               services via the Website; (d) you will comply with the terms and conditions of these Terms of Use and any other
                               agreement to which you are subject that is related to your use of the Website, Content or any part thereof; (e) you
                               have provided and will maintain accurate and complete registration information with Company, including, without
                               limitation, your legal name, email address and any other information Company may reasonably require; (f) your
                               access to and use of the Website or any part thereof and/or purchase and use of any subscriptions and/or services
                               will not constitute a breach or violation of any other agreement, contract, terms of use or any law or regulation to
                               which you are subject; (g) you will immediately notify Company in the event that you learn or suspect that your
                               registration information, username or password has been disclosed or otherwise made known to any other person;
                               (h) you will not use the Website in order to gain competitive intelligence about Company, the Website or any
                               subscription or service offered via the Website or to otherwise compete with Company or its affiliates; and (i) if you
                               purport to be the agent of, represent or otherwise act on behalf of an entity or any other person, that you are in fact
                               an authorized representative of such entity or other person.
                               In the event that you post any User Content or provide any Feedback via the Website, you hereby make the
                               following additional representations and warranties to Company: (1) you are owner of such User Content or
                               Feedback or otherwise have the right to grant Company the licenses or assignments granted pursuant to this
                               Agreement; (2) you have secured any and all consents necessary to post the User Content or Feedback and to
                               grant the foregoing licenses or assignments; (3) the User Content or Feedback does not violate the rights of any
                               third party, including, without limitation, the intellectual property, privacy or publicity rights of any third party, and
                               such User Content or Feedback does not contain any personally identifiable information about third parties in
                               violation of such parties’ rights; (4) the use of any User Content or Feedback will not result in harm or personal injury
                               to any third party; and (5) all factual information contained in the User Content or Feedback is true and accurate.

                               Prohibited Uses

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               You are solelyCase:  1:17-cv-04412
                                                responsible           Document
                                                             for any and  all acts #:
                                                                                   and81-2 Filed: 05/15/18
                                                                                        omissions  that occurPage
                                                                                                              under25your
                                                                                                                      of 86 PageID
                                                                                                                          account or #:2070
                                                                                                                                     password, and you
                               agree not to engage in unacceptable use of the Website or any part thereof or any User Content that you may sell or
                               purchase via the Website, which includes, without limitation: (a) use of the Website to post, store or disseminate
                               material or information that is, or to a reasonable person may be, false, fraudulent, unlawful, harmful, tortious,
                               abusive, obscene, pornographic, defamatory, libelous, harassing, invasive of another’s privacy, offensive, vulgar,
                               threatening, malicious, hateful or racially, ethnically or otherwise objectionable; (b) use of the Website to post, store
                               or disseminate Content, files, graphics, software or other material or information that actually or potentially infringes
                               the rights of any person, including, without limitation, the copyright, trademark, patent, trade secret or other
                               intellectual property rights, or privacy, moral or publicity rights, of any person; (c) use of the Website to interfere,
                               disrupt or attempt to gain unauthorized access to other accounts on the Website, to restricted portion of the
                               Website, to Content, or any other computer network or equipment; (d) use of the Website to post, store or
                               disseminate viruses, Trojan horses or any other malicious code or programs designed to interrupt, destroy or limit
                               the functionality of any computer software, hardware, system or telecommunications equipment; (e) use of the
                               Website to post, store or disseminate any unsolicited or unauthorized advertising, promotional materials, junk mail,
                               spam, chain letters, pyramid schemes or other fraudulent schemes, or any other form of solicitation; (f) use of the
                               Website to engage in any activity that, as determined by Company, may intentionally or unintentionally violate these
                               Terms of Use, violate any applicable laws or regulations or conflict with the spirit or intent of these Terms of Use; (g)
                               use of any manual or automated software, devices or other processes to “crawl” or “spider” any web pages
                               contained in the Website (including, without limitation, the use of robots, bots, spiders, scrapers or any other means
                               to extract pricing, product, service or other data from the Website); (h) use of the Website to gain competitive
                               intelligence about Company, the Website or any product or service offered via the Website or to otherwise compete
                               with Company or its affiliates; (i) framing or otherwise simulating the appearance or functions of the Website or any
                               portion thereof; or (j) harvesting or otherwise collecting any information about other users, including, without
                               limitation, email addresses or other contact information of other users; or (k) use of the Website in a manner which
                               violates the Company Rules of User Conduct, as the same may be changed from time to time, located at
                               http://www.topsteptrader.com/scoutingevaluationform

                               Disclaimer
                               General Information Only
                               All information and materials on this website are intended purely for general information. While TopstepTrader (with
                               TopstepTrader’s affiliates, “we” or the “Company”) offers viewers the ability to access the information on this website
                               for trial periods solely for educational purposes, we do not invite that any action be taken based upon such
                               information. The intent of this website is solely to further the proprietary trading of an affiliate of TopstepTrader by
                               identifying individuals with talent for trading and offering such individuals the opportunity to trade for the proprietary
                               account of such affiliate. We do not recommend or solicit any viewer of this website to trade or take any position in
                               any commodity, swap or commodity futures contract based upon the information provided on this site. Furthermore,
                               we do not provide information or recommendation to any viewer based upon such viewer’s existing positions in any
                               commodity, swap or commodity futures contract. No information posted on this site is intended to constitute advice

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               to purchase,Case:
                                              sell or1:17-cv-04412     Document
                                                       maintain positions         #: 81-2 Filed:
                                                                          in any commodity,  swap05/15/18 Page 26
                                                                                                   or commodity    of 86contract.
                                                                                                                futures  PageIDFurthermore,
                                                                                                                                  #:2071      no user
                               of the site should rely or use any information available on this site to make any investment decision. Neither the
                               Company nor any officer, director, manager, stockholder, member, employee or agent of the Company recommends
                               or solicits activity in any commodity, swap or commodity futures contract. Information on this website is based upon
                               information obtained by us from sources we believe to be reliable, but which may or may not have been
                               independently verified by us. We make no representation that any such information is accurate or complete and we
                               make no warranty, express or implied, regarding it. We are not liable for any losses, damages, costs or expenses
                               relating to the adequacy or use of such information.
                               We make no warranty that any information provided by this website will meet your expectations or your
                               requirements or that the provision of any such information will be uninterrupted, secure, timely, error-free, accurate
                               or reliable. Information and materials on this website may include inaccuracies or typographical errors. We may
                               change or amend the website at any time and from time to time and we disavow any obligation to provide any notice
                               of any such change or amendment.
                               We use reasonable efforts to maintain the website, but we are not responsible for any defects or failures associated
                               with the website, any part thereof, any content posted on the website, any widgets or similar applications use, or any
                               damages (including lost profits or other consequential damages, even if we have been informed of the same) that
                               may result from any such defects or failures. The website may be inaccessible or inoperable for any reason,
                               including, without limitation: (a) equipment malfunctions, (b) periodic maintenance procedures or repairs which
                               Company may undertake from time to time, or (c) causes beyond the control of Company or which are not
                               foreseeable by Company.
                               Company is not responsible for and does not control any user content posted by its users, nor does it have any
                               obligation to monitor such user content for any purpose. Despite the fact that it has no monitoring obligations,
                               Company does reserve the right to remove any and all material that it feels is actually or potentially inappropriate,
                               offensive, illegal or harmful in any respect or which may otherwise violate these Terms of Use. Because the user
                               content offered via the website is provided by other users, and because Company does not monitor or exercise
                               control over such user content, Company does not make any warranties or representations regarding any of the
                               user content offered via the website or the quality thereof. Company does not necessarily approve, endorse,
                               sanction, encourage, verify or agree with any message posted by its users or otherwise embodied in any content on
                               the website. You understand and agree that, by using the website, you may be exposed to content that may be
                               offensive, indecent, vulgar, defamatory or otherwise objectionable, and that in no way shall Company be liable
                               under any theory for such exposure.
                               Company is not a backup service for storing any user content, and Company shall have no liability regarding any
                               loss of such user content. You are solely responsible for creating backups of any user content you post using the
                               Website.
                               Company's Squawk Radio and chat room
                               All advisory or signal alerts mentioned in the chat and on the squawk radio are provided for informational and
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               educational Case:
                                             purposes1:17-cv-04412   Document
                                                        only. Any trades        #: 81-2
                                                                         placed upon     Filed: on
                                                                                      reliance  05/15/18
                                                                                                   the chatPage 27 of 86radio
                                                                                                            and squawk   PageID    #:2072
                                                                                                                              systems  are taken at
                               your own risk for your own account. Past performance is no guarantee of future results. While there is great
                               potential for reward when trading commodity futures, there is also substantial risk of loss in all commodity futures
                               trading. You must decide your own suitability to trade. Future trading results can never be guaranteed. This is not an
                               offer to buy or sell futures, options or commodity interests.
                               Company's Educational Tools
                               All trades, trade reports, charts, text/audio trade OR market coverage, futures trading classes, phone sessions
                               AND/OR any coaching sessions, of any kind, should be viewed as hypothetical and without merit; and if they were
                               accurate, they may never be able to be duplicated in the future -- it is not our intention to make specific trading
                               recommendations, and no claims are being made that we are initiating the signals posted. Your attempt to duplicate
                               these posted trades may be hindered by the inherent delay in receiving a post AND executing that post, market
                               liquidity, AND your own trading issues -- slippage, commissions, trading software/internet outages, etc.. A stop loss
                               may not limit your loss to the amount intended. NO representation is being made that any account will OR is likely to
                               achieve profits or losses similar to those shown.

                               U.S. Government Required Disclaimer - Commodity Futures Trading Commission
                               Futures and Options trading has large potential rewards, but also large potential risk. You must be aware of the risks
                               and be willing to accept them in order to invest in the futures and options markets. Don't trade with money you can't
                               afford to lose. This is neither a solicitation nor an offer to Buy/Sell futures or options. No representation is being
                               made that any account will or is likely to achieve profits or losses similar to those discussed on this web site. The
                               past performance of any trading system or methodology is not necessarily indicative of future results.
                               CFTC RULE 4.41 - HYPOTHETICAL OR SIMULATED PERFORMANCE RESULTS HAVE CERTAIN
                               LIMITATIONS. UNLIKE AN ACTUAL PERFORMANCE RECORD, SIMULATED RESULTS DO NOT REPRESENT
                               ACTUAL TRADING. ALSO, SINCE THE TRADES HAVE NOT BEEN EXECUTED, THE RESULTS MAY HAVE
                               UNDER-OR-OVER COMPENSATED FOR THE IMPACT, IF ANY, OF CERTAIN MARKET FACTORS, SUCH AS
                               LACK OF LIQUIDITY. SIMULATED TRADING PROGRAMS IN GENERAL ARE ALSO SUBJECT TO THE FACT
                               THAT THEY ARE DESIGNED WITH THE BENEFIT OF HINDSIGHT. NO REPRESENTATION IS BEING MADE
                               THAT ANY ACCOUNT WILL OR IS LIKELY TO ACHIEVE PROFIT OR LOSSES SIMILAR TO THOSE SHOWN.
                               All trades, patterns, charts, systems, etc., discussed in this advertisement and the product materials are for
                               illustrative purposes only and not to be construed as specific advisory recommendations. All ideas and material
                               presented are entirely those of the author and do not necessarily reflect those of the publisher or
                               TopstepTrader.com.

                               SEC Disclosure:
                               We do not promote any stocks on this site. We do not receive any compensation from companies whose stocks
                               appear on this site and we have no financial interest in the outcome of any stock trades mentioned herein.
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 28 of 86 PageID #:2073
                               PLEASE NOTE THE FOLLOWING IMPORTANT DISCLAIMERS OF WARRANTIES:
                               TO THE MAXIMUM EXTENT ALLOWED BY LAW, THE WEBSITE, ANY CONTENT, ANY WIDGETS AND ANY
                               PRODUCTS OR SERVICES PROVIDED VIA THE WEBSITE ARE PROVIDED “AS IS” AND “AS AVAILABLE,”
                               AND AT YOUR SOLE RISK. TO THE MAXIMUM EXTENT ALLOWED BY LAW, COMPANY EXPRESSLY
                               DISCLAIMS ALL WARRANTIES OF ANY KIND, WHETHER EXPRESS OR IMPLIED, INCLUDING, WITHOUT
                               LIMITATION, THE IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR USE OR
                               PURPOSE, TITLE AND NON-INFRINGEMENT.
                               WITHOUT LIMITATION, COMPANY MAKES NO WARRANTY THAT THE WEBSITE, ANY CONTENT, ANY
                               WIDGETS OR ANY SERVICES PROVIDED VIA THE WEBSITE WILL MEET YOUR REQUIREMENTS, THAT USE
                               OF THE FOREGOING WILL BE UNINTERRUPTED, TIMELY, SECURE, OR ERROR-FREE, THAT THE RESULTS
                               OBTAINED FROM THE USE OF THE FOREGOING OR ANY INFORMATION FOUND THEREON WILL BE
                               ACCURATE OR RELIABLE, OR THAT THE QUALITY OF ANY CONTENT, PRODUCTS, SERVICES,
                               INFORMATION OR OTHER MATERIAL OBTAINED THROUGH THE WEBSITE WILL MEET YOUR
                               EXPECTATIONS.
                               ANY CONTENT, WIDGETS OR OTHER MATERIAL DOWNLOADED OR OTHERWISE OBTAINED THROUGH
                               THE USE OF THE WEBSITE IS DONE AT YOUR SOLE RISK, AND YOU WILL BE SOLELY RESPONSIBLE FOR
                               ANY DAMAGE TO YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT RESULTS FROM THE DOWNLOAD
                               OF ANY SUCH MATERIAL.
                               FURTHER, PLEASE NOTE THAT NO ADVICE OR INFORMATION OBTAINED BY YOU THROUGH THE
                               WEBSITE OR ANY SERVICE SHALL CREATE ANY WARRANTY NOT EXPRESSLY PROVIDED FOR IN THESE
                               TERMS OF USE.
                               Limitation of Liability
                               TO THE MAXIMUM EXTENT ALLOWED BY LAW, YOU EXPRESSLY UNDERSTAND AND AGREE THAT
                               COMPANY SHALL NOT BE LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, CONSEQUENTIAL,
                               PUNITIVE OR EXEMPLARY DAMAGES, INCLUDING WITHOUT LIMITATION, DAMAGES FOR LOSS OF
                               PROFITS, GOODWILL, USE, DATA OR OTHER INTANGIBLE LOSSES (EVEN IF COMPANY HAS BEEN
                               ADVISED OF THE POSSIBILITY OF SUCH DAMAGES), RESULTING FROM: (A) THE USE OR THE INABILITY
                               TO USE THE WEBSITE, ANY CONTENT, WIDGETS OR ANY PRODUCTS OR SERVICES PURCHASED VIA
                               THE WEBSITE; (B) THE COST OF PROCUREMENT OF SUBSTITUTE PRODUCTS AND SERVICES
                               RESULTING FROM ANY PRODUCTS, DATA, INFORMATION OR SERVICES PURCHASED OR OBTAINED OR
                               MESSAGES RECEIVED OR TRANSACTIONS ENTERED INTO THROUGH OR FROM THE WEBSITE OR
                               OTHERWISE; (C) UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR TRANSMISSIONS, CONTENT OR
                               DATA; OR (D) ANY OTHER MATTER RELATING TO THE WEBSITE, ANY CONTENT, WIDGETS OR THE
                               PURCHASE OF COMPANY’S PRODUCTS OR SERVICES. IF YOU ARE DISSATISFIED WITH THE WEBSITE,
                               YOUR SOLE AND EXCLUSIVE REMEDY SHALL BE TO DISCONTINUE USE OF THE WEBSITE AND

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               TERMINATECase:
                                           THIS 1:17-cv-04412
                                                AGREEMENT IN  Document #: 81-2 WITH
                                                                ACCORDANCE     Filed: ITS
                                                                                       05/15/18
                                                                                          TERMS.Page
                                                                                                  TO29 of 86
                                                                                                     THE     PageID EXTENT
                                                                                                          MAXIMUM   #:2074 ALLOWED
                               BY LAW, IN NO EVENT SHALL COMPANY’S TOTAL LIABILITY TO YOU FOR ALL DAMAGES, LOSSES, AND
                               CAUSES OF ACTION (WHETHER IN CONTRACT, TORT (INCLUDING, BUT NOT LIMITED TO, NEGLIGENCE)
                               OR OTHERWISE) EXCEED THE AMOUNT PAID BY YOU, IF ANY, FOR ACCESSING THE WEBSITE, WIDGETS,
                               OR PURCHASING ANY CONTENT OR PURCHASING COMPANY’S SERVICES OR ANY AMOUNT RETAINED
                               BY COMPANY FROM YOU FOR PROVIDING THE SERVICES.
                               SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF CERTAIN WARRANTIES OR THE LIMITATION
                               OR EXCLUSION OF LIABILITY FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES. ACCORDINGLY, SOME
                               OF THE ABOVE LIMITATIONS MAY NOT APPLY TO YOU.

                               Indemnification
                               You agree to indemnify, defend and hold harmless Company, and its officers, directors, employees, agents,
                               information providers and suppliers from and against all claims, causes of action, suits, losses, expenses, damages
                               and costs, including reasonable attorney's fees, arising out of, in connection with or relating to any violation by you
                               of the Subscription Agreement or these Terms of Use, including claims of infringement of intellectual property or
                               other third party rights, or otherwise, directly or indirectly resulting from or attributable in any way to any access to,
                               use of or posting of material or content on the Company site by you.

                               Term and Termination
                               This Agreement is effective upon your unequivocal acceptance as set forth herein and shall continue in full force
                               until terminated. You agree that Company, in its sole discretion, may terminate your use of the Website or any part
                               thereof upon prior notice, and remove and discard any Content, in the event you violate these Terms of Use. You
                               agree that Company may immediately suspend your account and your access to the Website or any part thereof in
                               order to conduct an investigation in the event it believes you have violated these Terms of Use or if it determines
                               that you are a repeat infringer of another’s intellectual property or other rights. Company may also, in its sole
                               discretion and at any time, discontinue providing the Website, any part thereof, any Content or any products or
                               services advertised thereon, with or without notice. In addition to any other method of termination or suspension
                               provided for in this Agreement, Company reserves the right to terminate this Agreement at any time and for any
                               reason upon ten (10) days notice to you. Further, you agree that Company shall not be liable to you or any third
                               party for any termination or suspension of your access to the Website or any part thereof, removal of Content or sale
                               of any services. You may terminate this Agreement at any time by immediately discontinuing all access to the
                               Website and by providing notice to Company of such discontinuance. Termination or cancellation of this Agreement
                               shall not affect any right or relief to which Company may be entitled at law or in equity. Upon termination of this
                               Agreement, you shall terminate all use of the Website and any Content provided thereby. In the event of
                               termination, you will not be entitled to any refund of any fees or other charges, if any, paid in connection with this
                               Agreement.


https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               Governing Case: 1:17-cv-04412
                                         Law and             Document #:
                                                  Other Miscellaneous    81-2 Filed: 05/15/18 Page 30 of 86 PageID #:2075
                                                                      Terms
                               The parties and their respective personnel are and shall be independent contractors, and neither party by virtue of
                               this Agreement shall have any right, power or authority to act or create any obligation, express or implied, on behalf
                               of the other party.
                               You acknowledge and agree that any expenses that you incur in furtherance of this Agreement are voluntary in
                               nature and are made with the knowledge that this Agreement may be terminated as provided herein. You shall not
                               make a claim against Company, and Company shall not be liable with respect to the recoupment of any
                               expenditures or investment made by you in anticipation of the continuation of this Agreement beyond the term
                               hereof.
                               The parties agree that breach of the provisions of this Agreement would cause irreparable harm and significant
                               injury to Company which would be both difficult to ascertain and which would not be compensable by damages
                               alone. As such, the parties agree that Company has the right to enforce the provisions of this Agreement by
                               injunction (without necessity of posting bond), specific performance or other equitable relief without prejudice to any
                               other rights and remedies Company may have for your breach of this Agreement.
                               The validity and effect of these Terms of Use shall be governed by, and construed and enforced in accordance with
                               the laws of Illinois, without regard to its conflicts or choice of laws principles. ANY SUIT, ACTION OR
                               PROCEEDING CONCERNING OR RELATING TO THE WEBSITE, ITS USE, THESE TERMS OF USE, ANY SALE
                               OR ANY OTHER PRODUCT, SERVICE, POLICY OR PROCEDURE OF COMPANY, MUST BE BROUGHT
                               EXCLUSIVELY IN A COURT OF COMPETENT JURISDICTION IN ILLINOIS, AND YOU HEREBY IRREVOCABLY
                               CONSENT TO THE JURISDICTION OF SUCH COURT (AND OF THE APPROPRIATE APPELLATE COURTS
                               THEREFROM) IN ANY SUCH SUIT, ACTION OR PROCEEDING, YOU IRREVOCABLY WAIVE, TO THE
                               FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY OBJECTION WHICH YOU MAY NOW OR
                               HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY SUCH SUIT, ACTION OR PROCEEDING IN ANY
                               SUCH COURT OR THAT ANY SUCH SUIT, ACTION OR PROCEEDING WHICH IS BROUGHT IN ANY SUCH
                               COURT HAS BEEN BROUGHT IN AN INCONVENIENT OR IMPROPER FORUM.
                               If any action at law or in equity is necessary to enforce the terms of this Agreement, the prevailing party will be
                               entitled to reasonable fees of attorneys, accountants and other professionals, and costs and expenses in addition to
                               any other relief to which such prevailing party may be entitled.
                               The captions and headings of this Agreement are included for ease of reference only and will be disregarded in
                               interpreting and construing this Agreement.
                               If the performance of any part of this Agreement by either party (other than payment of money) is prevented,
                               hindered, delayed or otherwise made impracticable by reason of any flood, riot, fire, judicial or governmental action,
                               labor dispute, act of God, telecommunications failure or any other cause beyond the control of either party, that
                               party shall be excused from such performance to the extent that it is prevented, hindered or delayed by such cause.
                                 This Agreement, including any other agreements or additional terms referenced herein, constitutes the complete
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               and exclusiveCase:    1:17-cv-04412
                                               statement               Document
                                                          of the Agreement         #: 81-2
                                                                               between  theFiled: 05/15/18
                                                                                            parties         Pageto31
                                                                                                    with respect     ofWebsite,
                                                                                                                   the 86 PageID     #:2076
                                                                                                                                 Content, Widgets and
                               services offered via the Website, and, unless otherwise expressly provided herein, it supersedes any and all prior or
                               contemporaneous communications, representations, statements and understandings, whether oral or written,
                               between the parties concerning the Website, Content, Widgets and services sold via the Website. If any provision
                               of this Agreement is found unlawful or unenforceable in any respect, the court shall reform such provision so as to
                               render it enforceable or, if it is not possible to reform such provision so as to make it enforceable, then delete such
                               provision. As so reformed or modified, the court shall fully enforce this Agreement. The provisions of this
                               Agreement that by their content are intended to survive the expiration or termination of this Agreement, including,
                               without limitation, provisions governing ownership and use of intellectual property, representations, disclaimers,
                               warranties, liability, indemnification, governing law, jurisdiction, venue, remedies, rights after termination and
                               interpretation of this Agreement, will survive the expiration or termination of this Agreement for their full statutory
                               period.
                               The United Nations Convention on Contracts for the International Sale of Goods and the Uniform Computer
                               Information Transactions Act shall not apply to this Agreement.
                               Company makes no representation that the Website, Content or other material or information on the Website is
                               appropriate to or available in locations outside of the United States. You may not use the Website or export Content
                               in violation of United States export laws, regulations or restrictions. If you access the Website from outside of the
                               United States, you are responsible for compliance with all applicable laws.

                               Copyright and Copyright Notices
                               Company respects the intellectual property of others, and we ask our users to do the same. If you believe that your
                               work has been copied in a way that constitutes copyright infringement, please provide Company’s Copyright Agent
                               the following information:

                                       an electronic or physical signature of the owner or person authorized to act on behalf of the owner of the copyright interest;
                                       a description of the copyrighted work that you claim has been infringed;
                                       a description of where the material that you claim is infringing is located on the Website sufficient to allow us to locate the
                                       allegedly infringing material;
                                       your address, telephone number, and email address;
                                       a statement by you that you have a good faith belief that the disputed use is not authorized by the copyright owner, its agent,
                                       or the law; and
                                       a statement by you, made under penalty of perjury, that the above information in your notice is accurate and that you are the
                                       copyright owner or authorized to act on the copyright owner’s behalf.

                               Please contact Company’s Copyright Agent for Notice of Claims of copyright infringement at:
                               support@topsteptrader.com. Copyright owners and agents acknowledge that failure to comply with all of the
                               requirements of the foregoing may result in an invalidity of the DMCA notice.
                               Counter-Notice. If you believe that the User Content that was removed (or to which access was disabled) is not
                               infringing, or that you have authorization from the copyright owner, the copyright owner’s agent, or pursuant to the
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                            Case:
                               law, to post and use1:17-cv-04412  Document
                                                     the User Content,       #:send
                                                                       you may  81-2aFiled: 05/15/18 containing
                                                                                      counter-notice Page 32 ofthe
                                                                                                                 86following
                                                                                                                    PageID information
                                                                                                                             #:2077    to the
                               Copyright Agent:

                                       your physical or electronic signature;
                                       identification of the User Content that has been removed or to which access has been disabled and the location at which the
                                       User Content appeared before it was removed or disabled;
                                       a statement that you have a good faith belief that the User Content was removed or disabled as a result of mistake or a
                                       misidentification of the User Content; and
                                       your name, address, telephone number, and e-mail address, a statement that you consent to the jurisdiction of the federal
                                       court in Illinois and a statement that you will accept service of process from the person who provided notification of the
                                       alleged infringement.

                               If a counter-notice is received by the Copyright Agent, Company may send a copy of the counter-notice to the
                               original complaining party informing that person that it may replace the removed User Content or cease disabling it
                               in 10 business days. Unless the copyright owner files an action seeking a court order against the person providing
                               such User Content, the removed User Content may be replaced, or access to it restored, in 10 to 14 business days
                               or more after receipt of the counter-notice, at Company’s sole discretion.



                               The following terms and conditions are effective June 24, 2014 for all Trading Challenges

                               IMPORTANT! PLEASE CAREFULLY READ THESE TERMS AND CONDITIONS PRIOR TO USING
                               TOPSTEPTRADER, AS THESE TERMS AND CONDITIONS AFFECT YOUR LEGAL RIGHTS AND
                               OBLIGATIONS.

                               ACCEPTANCE OF TERMS
                               The web pages available at www.TopstepTrader.com, and all linked pages ("Site"), are owned and operated by
                               TopstepTrader, LLC. Please read these terms of use carefully before using the Site.

                               USER AGREEMENT
                               TopstepTrader owns and operates the Website that links to these Terms of Use. We are pleased to offer you access
                               to our Website and the ability to participate in our trading contests of skill, other content, products, services, and
                               promotions (collectively the "Services") that we may provide from our Website, subject to these Terms of Use (the
                               "Terms of Use"), our privacy policy (the "Privacy Policy") and the Official Rules and Regulations for the applicable
                               contests and promotions (the “Rules” or "Rules and Scoring," and together with the Terms of Use and the Privacy
                               Policy, the "Agreements").

                               CONSIDERATION
                               You agree to these Terms of Use by accessing or using the Website, registering for Services offered on the
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                           Case:
                               Website, or by    1:17-cv-04412
                                              accepting,          Document
                                                         uploading, submitting#:or81-2 Filed: 05/15/18
                                                                                   downloading          Page 33 or
                                                                                                 any information of content
                                                                                                                    86 PageID
                                                                                                                            from#:2078
                                                                                                                                 or to the Website. IF
                               YOU DO NOT AGREE TO BE BOUND BY ALL OF THESE TERMS OF USE, DO NOT USE THE WEBSITE. These
                               Terms of Use constitute a legal agreement between you and TopstepTrader, and shall apply to your use of the
                               Website and the Services even after termination.

                               ELIGIBILITY
                               You must be at least 18 years of age to open an account, participate in contests, or win prizes offered by the
                               Website. In jurisdictions, territories, and locations where the minimum age for permissible use of the Website is
                               greater than 18 years old, you must meet the age requirement in your local jurisdiction or territory. You must be at
                               least 19 years of age at time of contest registration if you are a legal resident of Alabama or Nebraska. Legal
                               residents physically located in any of the 50 states and Washington DC, excluding Arizona, Iowa, Louisiana,
                               Montana, Washington, and Quebec, Canada are eligible to open an account and participate in contests offered by
                               the Website. Legal residents of Arizona, Iowa, Louisiana, Montana, and Washington (the “Excluded States”) are
                               ineligible for prizes offered by the Website. Residents of the Excluded States are eligible to open and maintain
                               accounts on the Website for use only in games that do not offer prizes. With the exception of Quebec, legal
                               residents of Canada are eligible to open an account and participate in contests offered by the Website.
                               "Authorized Account Holder" is defined as the natural person 18 years of age or older who is assigned to an e-mail
                               address by an Internet access provider, on-line service provider, or other organization (e.g., business, education
                               institution, etc.) that is responsible for assigning e-mail addresses for the domain associated with the submitted e-
                               mail address for registration on the Website. By inputting a payment method to participate in real money contests,
                               the Authorized Account Holder hereby affirms that the Authorized Account Holder is the lawful owner of the payment
                               method account used to make any deposit(s) on the Website. It shall be a violation of these Terms of Use for any
                               Authorized Account Holder to submit payment using any payment method that is not owned by the Authorized
                               Account Holder.
                               TopstepTrader employees may use the Website, and will from time to time do so for the purpose of testing the site
                               user experience, socializing and competing with customers to build community, and other reasonable and fair uses
                               at the discretion of TopstepTrader.

                               CONTEST ENTRY
                               Users will be able to visit the Website and view the games available for entry (the “Contests”). Each individual
                               Contest that is not free to enter has an entry fee listed in US dollars. When you select to participate in a Contest and
                               complete the entry process, the listed amount of US dollars will be debited from your TopstepTrader account.
                               When you opt to participate in a contest, that amount in US dollars will be debited from your TopstepTrader account.
                               Then, follow the links and instructions provided for entry.

                               REFUND POLICY

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               All paymentsCase:  1:17-cv-04412
                                            are final and no refundsDocument     #: 81-2InFiled:
                                                                       will be issued.           05/15/18
                                                                                          the event        Page 34
                                                                                                     of a dispute    of 86 PageID
                                                                                                                  regarding        #:2079
                                                                                                                            the identity of the person
                               submitting an entry, the entry will be deemed submitted by the person in whose name the account was registered.

                               CONDITIONS OF PARTICIPATION
                               In order to participate in a contest on the Site, you must register for an account. By registering as a user of the Site,
                               you agree to provide accurate, current and complete information about yourself as prompted (such information
                               being the Registration Data) and maintain and promptly update the Registration Data to keep it accurate, current
                               and complete. If you provide any information that is inaccurate, not current or incomplete, or TopstepTrader has
                               reasonable grounds to suspect that such information is inaccurate, not current or incomplete, TopstepTrader may
                               deny you access to areas requiring registration, at its sole discretion.
                               At the time of registration for online account access, you must provide a valid email address and supply a Username
                               and Password to be used in conjunction with your account. Many portions of the Site require registration for access
                               (the "Restricted Areas"). You are responsible for maintaining the confidentiality of your Username and Password,
                               and are fully responsible for all uses of your Username and Password, whether by you or others. You agree to (a)
                               keep your Username and Password confidential and not share them with anyone else; (b) immediately notify
                               TopstepTrader of any unauthorized use of your Username and Password or account or any other breach of security;
                               and (c) use only your Username and Password to access the Site's Restricted Areas. TopstepTrader cannot and will
                               not be liable for any loss or damage arising from your failure to comply with this Section. In the event of a dispute
                               regarding the identity of the person submitting an entry, the entry will be deemed submitted by the person in whose
                               Username the entry was submitted, or if possession of the Username itself is contested, the name in which the
                               email address on file was registered with the email service provider.
                               You acknowledge and agree that TopstepTrader is authorized to act on instructions received through use of your
                               Username and Password, and that TopstepTrader may, but is not obligated to, deny access or block any transaction
                               made through use of your Username and Password without prior notice if we believe your Username and Password
                               are being used by someone other than you, or for any other reason.
                               By entering a Contest, entrants agree to be bound by these Rules and the decisions of TopstepTrader, which shall
                               be final and binding in all respects. The Company, at its sole discretion, may disqualify any entrant from a Contest,
                               refuse to award benefits or prizes and require the return of any prizes, if the entrant engages in conduct the
                               Company deems to be improper, unfair or otherwise adverse to the operation of the Contest or is in any way
                               detrimental to other entrants. Improper conduct includes, but is not limited to:

                                       Falsifying personal information required to enter a Contest or claim a prize;
                                       Engaging in any type of financial fraud including unauthorized use of credit instruments to enter a Contest or claim a prize;
                                       Colluding with any other individual(s) or engaging in any type of syndicate play;
                                       Any violation of Contest rules or the Terms of Use;
                                       Accumulating points or prizes through unauthorized methods such as automated scripts, bots, or other automated means;
                                       Using automated means (including but not limited to harvesting bots, robots, parser, spiders or screen scrapers) to obtain,
                                       collect or access any information on the Website or of any User for any purpose.

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                       Any typeCase:   1:17-cv-04412
                                                of bonus abuse, abuse of Document      #: 81-2
                                                                           the refer-a-friend    Filed: or
                                                                                              program,  05/15/18
                                                                                                           abuse of Page  35 offers
                                                                                                                    any other of 86 or
                                                                                                                                    PageID    #:2080
                                                                                                                                       promotions;
                                       Tampering with the administration of a Contest or trying to in any way tamper with the computer programs or any security
                                       measure associated with a Contest;
                                       Obtaining other entrants information and spamming other entrants; or
                                       Abusing the Website in any way.

                               Users further acknowledge that the forfeiture and/or return of any prize shall in no way prevent TopstepTrader from
                               pursuing criminal or civil proceedings in connection with such conduct.
                               By entering into a Contest or accepting any prize, entrants, including but not limited to the winner(s), agree to
                               indemnify, release and to hold harmless TopstepTrader, its parents, subsidiaries, affiliates and agents, as well as
                               the officers, directors, employees, shareholders and representatives of any of the foregoing entities (collectively, the
                               "Released Parties"), from any and all liability, claims or actions of any kind whatsoever, including but not limited to
                               injuries, damages, or losses to persons and property which may be sustained in connection with participation in the
                               Contest, the receipt, ownership, use or misuse of any prize or while preparing for, participating in and/or travelling to
                               or from any prize related activity, as well as any claims based on publicity rights, defamation, or invasion of privacy.
                               TopstepTrader may, in its sole and absolute discretion, require an Authorized Account Holder to execute a separate
                               release of claims similar to the one listed above in this Paragraph as a condition of being awarded any prize or
                               receiving any payout.
                               TopstepTrader is not responsible for: any incorrect, invalid or inaccurate entry information; human errors; postal
                               delays/postage due mail; technical malfunctions; failures, including public utility or telephone outages; omissions,
                               interruptions, deletions or defects of any telephone system or network, computer online systems, data, computer
                               equipment, servers, providers, or software (including, but not limited to software and operating systems that do not
                               permit an entrant to participate in a Contest), including without limitation any injury or damage to any entrant's or any
                               other person's computer or video equipment relating to or resulting from participation in a Contest; inability to access
                               the Website, or any web pages that are part of or related to the Website; theft, tampering, destruction, or
                               unauthorized access to, or alteration of, entries and/or images of any kind; data that is processed late or incorrectly
                               or is incomplete or lost due to telephone, postal issues, computer or electronic malfunction or traffic congestion on
                               telephone lines or transmission systems, or the Internet, or any service provider's facilities, or any phone site or
                               website or for any other reason whatsoever; typographical, printing or other errors, or any combination thereof.
                               TopstepTrader is not responsible for incomplete, illegible, misdirected or stolen entries. If for any reason a Contest
                               is not capable of running as originally planned, or if a Contest, computer application, or website associated therewith
                               (or any portion thereof) becomes corrupted or does not allow the proper entry to a Contest in accordance with the
                               Terms of Use or applicable Contest rules, or if infection by a computer (or similar) virus, bug, tampering,
                               unauthorized intervention, actions by entrants, fraud, technical failures, or any other causes of any kind, in the sole
                               opinion of TopstepTrader corrupts or affects the administration, security, fairness, integrity, or proper conduct of a
                               Contest, the Company reserves the right, at its sole discretion, to disqualify any individual implicated in such action
                               and/or to cancel, terminate, extend, modify or suspend the Contest, and select the winner(s) from all eligible entries
                               received. If such cancellation, termination, modification or suspension occurs, notification will be posted on the
                               Website.
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 36 of 86 PageID #:2081
                               ANY ATTEMPT BY AN ENTRANT OR ANY OTHER INDIVIDUAL TO DELIBERATELY DAMAGE THE WEBSITE
                               OR UNDERMINE THE LEGITIMATE OPERATION OF ANY CONTEST IS A VIOLATION OF CRIMINAL AND/OR
                               CIVIL LAWS AND SHOULD SUCH AN ATTEMPT BE MADE, TOPSTEPTRADER RESERVES THE RIGHT TO
                               SEEK DAMAGES AND OTHER REMEDIES FROM ANY SUCH PERSON TO THE FULLEST EXTENT
                               PERMITTED BY LAW.
                               All entries become the property of TopstepTrader and will not be acknowledged or returned.
                               To be eligible to enter any contest or receive any prize, the Authorized Account Holder may be required to provide
                               TopstepTrader with additional documentation and/or information to verify the identity of the Authorized Account
                               Holder, and to provide proof that all eligibility requirements are met. In the event of a dispute as to the identity or
                               eligibility of an Authorized Account Holder, TopstepTrader will, in its sole and absolute discretion, utilize certain
                               information collected by TopstepTrader to assist in verifying the identity and/or eligibility of such Authorized Account
                               Holder.
                               Participation in each Contest must be made only as specified in the Terms of Use. Failure to comply with these
                               Terms of Use will result in disqualification and, if applicable, prize forfeiture.
                               Where legal, both entrants and winner consent to the use of their name, voice, and likeness/photograph in and in
                               connection with the development, production, distribution and/or exploitation of any Contest or the Website. Winners
                               agree that from the date of notification by TopstepTrader of their status as a potential winner and continuing until
                               such time when TopstepTrader informs them that they no longer need to do so that they will make themselves
                               available to TopstepTrader for publicity, advertising, and promotion activities.
                               TopstepTrader reserves the right to move entrants from the Contests they have entered to similar Contests in
                               certain situations determined by TopstepTrader in its sole discretion.

                               CONTEST PRIZES AND PROMOTIONS
                               Prizes will only be awarded if a Contest is run. We reserve the right to cancel Contests at any time. In the event of a
                               cancellation, all entry fees will be refunded to the customer except as specifically provided in these Terms of Use.
                               Guaranteed prizes are offered in connection with some of the Contests offered by the Website. Each Contest or
                               promotion is governed by its own set of official rules. We encourage you to read such Contest and promotions Rules
                               before participating.

                               CONTEST OF SKILL
                               Contests offered on the Website are contests of skill. Winners are determined by the objective criteria described in
                               the Contest deadline, Rules, scoring, and any other applicable documentation associated with the Contest. From all
                               entries received for each Contest, winners are determined by the individuals who use their skill and knowledge of
                               relevant trading information and trading concepts to accumulate the most points according to the corresponding

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                           Case:
                               scoring rules.     1:17-cv-04412
                                              The Website       Document
                                                          and Contests     #: 81-2
                                                                       may not     Filed:
                                                                               be used for05/15/18
                                                                                           any form Page
                                                                                                    of illicit37gambling.
                                                                                                                 of 86 PageID #:2082

                               CONTEST STATISTICS AND LIVE SCORING
                               To the extent that we offer 'live' statistics during gameplay, all 'live' statistics and other information provided through
                               the TopstepTrader Website and related information sources are unofficial. Live financial market data, statistics, and
                               their respective components are offered for informational and/or entertainment purposes only. While TopstepTrader
                               and the third parties used to provide the TopstepTrader Services use reasonable efforts to include accurate and up-
                               to-date information, neither TopstepTrader nor its third party providers warrant or make any representations of any
                               kind with respect to the information provided through the TopstepTrader Website and related information sources.
                               TopstepTrader and its third party providers shall not be responsible or liable for the accuracy, usefulness, or
                               availability of any information transmitted or made available via the TopstepTrader Website and related information
                               sources, and shall not be responsible or liable for any error or omissions in that information.

                               CONTEST RESULTS
                               Contest results and prize calculations are based on the final statistics and scoring results at the completion of each
                               individual Contest. Once Contest results are reviewed and graded, prizes are awarded. The scoring results of a
                               Contest will not be changed regardless of any official statistics or adjustments made at later times or dates, except
                               in TopstepTrader's sole discretion.
                               TopstepTrader reserves the right, in its sole and absolute discretion, to deny any contestant the ability to participate
                               in head-to-head contests for any reason whatsoever. Further, TopstepTrader may, in its sole and absolute
                               discretion, invalidate any head-to-head contest result for the purposes of preventing abusive and/or any unfair or
                               potentially unlawful activity, or in the event that there is a risk of any such abusive, illegal, or unfair activity.

                               PRIZES (INSERT PRIZE INFO)
                               At the conclusion of each Contest, prizes will be awarded within 5 business days except in circumstances where
                               technical failure or other reasons prevent such timely payout. Contest prizes equal a percentage of the applicable
                               Contest's entry fees less an administration fee of no more than 20%, and are listed in our prize tables list. Prizes
                               won are added to the winning participants account balance. In the event of a tie, prizes are divided evenly amongst
                               the participants that have tied.

                               PRIZE TABLES
                               Contest prize payouts will be published with the creation of each new contest. TopstepTrader, at its sole discretion,
                               may revise the prize tables and/or the recipients of each prize at any time. Notification of such changes may be
                               provided by TopstepTrader to its customers but will not be required.

                               PAYMENT AND WITHDRAWAL OF PRIZES

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               Winners areCase:
                                          posted1:17-cv-04412
                                                 on the Website.Document #: 81-2 Filed: 05/15/18 Page 38 of 86 PageID #:2083
                               Entrants may withdraw their cash prize awards as well as cash deposits by using the “Withdrawal” option on the
                               Website. Entrants may be requested to complete an affidavit of eligibility and a liability/publicity release (unless
                               prohibited by law) and/or appropriate tax forms and forms of identification including but not limited to a Driver's
                               License, Proof of Residence, and/or any information relating to payment/deposit accounts as reasonably requested
                               by TopstepTrader in order to complete the withdrawal of prizes. Failure to comply with this requirement may result in
                               disqualification and forfeiture of any prizes. Disqualification or forfeiture of any prizes may also occur if it is
                               determined any such entrant did not comply with these Terms of Use in any manner.
                               Checks for withdrawal requests are processed within 14 business days, and are sent via U.S. Mail. Promotional
                               deposits, credits, and other bonuses may not be withdrawn from a TopstepTrader account unless appropriate terms
                               of the promotion are achieved first by the user.
                               All taxes associated with the receipt of any prize are the sole responsibility of the winner. In the event that the
                               awarding of any prizes to winners of Contests is challenged by any legal authority, TopstepTrader reserves the right
                               in its sole discretion to determine whether or not to award such prizes.
                               No substitution or transfer of prize is permitted, except that TopstepTrader reserves the right to substitute a prize of
                               equal value or greater if the advertised prize is unavailable. All prizes are awarded "as is" and without warranty of
                               any kind, express or implied (including, without limitation, any implied warranty of merchantability for a particular
                               purpose).
                               Any withdrawal requests, after approval by TopstepTrader, will be credited back to the same credit card or method
                               of payment used to deposit funds on the Website. TopstepTrader will only release withdrawals to a different credit
                               card or other payment method other than that which was used to make deposit(s) after the aggregate amount of
                               such deposit(s) has already been released back to the credit card(s) or payment method(s) used for the deposit(s).

                               TERMINATION AND EFFECT OF TERMINATION
                               In addition to any other legal or equitable remedy, TopstepTrader may, without prior notice, immediately revoke any
                               or all of your rights granted hereunder. In such event, you will immediately cease all access to and use of the
                               TopstepTrader Website. TopstepTrader may revoke any password(s) and/or account identification issued to you
                               and deny you access to and use of the Website. Any such action shall not affect any rights and obligations arising
                               prior thereto. All provisions of the Terms of Use, which by their nature should survive termination, shall survive
                               termination, including, without limitation, ownership provisions, warranty disclaimers, indemnity and limitations of
                               liability.

                               DISCLAIMER OF WARRANTIES
                               THE WEBSITE, INCLUDING, WITHOUT LIMITATION, ALL CONTENT, SOFTWARE, AND FUNCTIONS MADE
                               AVAILABLE ON OR ACCESSED THROUGH OR SENT FROM THE WEBSITE, ARE PROVIDED "AS IS," "AS

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                         Case:
                               AVAILABLE," AND1:17-cv-04412 Document
                                               "WITH ALL FAULTS."    #: 81-2
                                                                  TO THE     Filed: 05/15/18
                                                                          FULLEST    EXTENT Page 39 of 86 PageID
                                                                                             PERMISSIBLE  BY LAW,#:2084
                                                                                                                   THE COMPANY
                               AND ITS PARENTS, SUBSIDIARIES AND AFFILIATES MAKE NO REPRESENTATION OR WARRANTIES OR
                               ENDORSEMENTS OF ANY KIND WHATSOEVER (EXPRESS OR IMPLIED) ABOUT: (A) THE WEBSITE; (B) THE
                               CONTENT AND SOFTWARE ON AND PROVIDED THROUGH THE WEBSITE; (C) THE FUNCTIONS MADE
                               ACCESSIBLE ON OR ACCESSED THROUGH THE WEBSITE; (D) THE MESSAGES AND INFORMATION SENT
                               FROM THE WEBSITE BY USERS; (E) ANY PRODUCTS OR SERVICES OFFERED VIA THE WEBSITE OR
                               HYPERTEXT LINKS TO THIRD PARTIES; AND/OR (F) SECURITY ASSOCIATED WITH THE TRANSMISSION
                               OF SENSITIVE INFORMATION THROUGH THE WEBSITE OR ANY LINKED SITE. THE COMPANY DOES NOT
                               WARRANT THAT THE WEBSITE, ANY OF THE WEBSITES' FUNCTIONS OR ANY CONTENT CONTAINED
                               THEREIN WILL BE UNINTERRUPTED OR ERROR-FREE; THAT DEFECTS WILL BE CORRECTED; OR THAT
                               THE WEBSITES OR THE SERVERS THAT MAKES THEM AVAILABLE ARE FREE OF VIRUSES OR OTHER
                               HARMFUL COMPONENTS.
                               THE COMPANY DOES NOT WARRANT THAT YOUR ACTIVITIES OR USE OF THE WEBSITE IS LAWFUL IN
                               ANY PARTICULAR JURISDICTION AND, IN ANY EVENT, THE COMPANY SPECIFICALLY DISCLAIMS SUCH
                               WARRANTIES. YOU UNDERSTAND THAT BY USING ANY OF THE FEATURES OF THE WEBSITE, YOU ACT
                               AT YOUR OWN RISK, AND YOU REPRESENT AND WARRANT THAT YOUR ACTIVITIES ARE LAWFUL IN
                               EVERY JURISDICTION WHERE YOU ACCESS OR USE THE WEBSITE OR THE CONTENT. FURTHER, THE
                               COMPANY AND ITS PARENTS, SUBSIDIARIES AND AFFILIATES DISCLAIM ANY EXPRESS OR IMPLIED
                               WARRANTIES INCLUDING, WITHOUT LIMITATION, NONINFRINGEMENT, MERCHANTABILITY, FITNESS FOR
                               A PARTICULAR PURPOSE, AND TITLE.
                               THE COMPANY, ITS PARENTS, SUBSIDIARIES AND AFFILIATES, AND THE DIRECTORS, OFFICERS,
                               EMPLOYEES, AND OTHER REPRESENTATIVES OF EACH OF THEM, SHALL NOT BE LIABLE FOR THE USE
                               OF THE WEBSITE INCLUDING, WITHOUT LIMITATION, THE CONTENT AND ANY ERRORS CONTAINED
                               THEREIN. SOME JURISDICTIONS LIMIT OR DO NOT ALLOW THE DISCLAIMER OF IMPLIED OR OTHER
                               WARRANTIES SO THE ABOVE DISCLAIMER MAY NOT APPLY TO THE EXTENT SUCH JURISDICTION'S LAW
                               IS APPLICABLE TO THIS AGREEMENT.

                               LIMITATION OF LIABILITY
                               YOU UNDERSTAND AND AGREE THAT THE COMPANY LIMITS ITS LIABILITY IN CONNECTION WITH YOUR
                               USE OF THE WEBSITE AS SET FORTH BELOW: UNDER NO CIRCUMSTANCES SHALL THE COMPANY, ITS
                               PARENTS, SUBSIDIARIES, OR AFFILIATES, OR THE DIRECTORS, OFFICERS, EMPLOYEES, OR OTHER
                               REPRESENTATIVES OF EACH OF THEM (COLLECTIVELY, THE "COMPANY ENTITIES AND INDIVIDUALS"),
                               BE LIABLE TO YOU FOR ANY LOSS OR DAMAGES OF ANY KIND (INCLUDING, WITHOUT LIMITATION, FOR
                               ANY SPECIAL, DIRECT, INDIRECT, INCIDENTAL, EXEMPLARY, ECONOMIC, PUNITIVE, OR CONSEQUENTIAL
                               DAMAGES) THAT ARE DIRECTLY OR INDIRECTLY RELATED TO (1) THE WEBSITE, THE CONTENT, OR
                               YOUR UPLOAD INFORMATION; (2) THE USE OF, INABILITY TO USE, OR PERFORMANCE OF THE WEBSITE;
                               (3) ANY ACTION TAKEN IN CONNECTION WITH AN INVESTIGATION BY THE COMPANY OR LAW
                               ENFORCEMENT AUTHORITIES REGARDING YOUR USE OF THE WEBSITE OR CONTENT; (4) ANY ACTION
https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                          Case: 1:17-cv-04412
                               TAKEN IN CONNECTION            Document #:OWNERS;
                                                       WITH COPYRIGHT     81-2 Filed:
                                                                                   OR 05/15/18
                                                                                       (5) ANYPage 40 ofOR
                                                                                               ERRORS    86 OMISSIONS
                                                                                                            PageID #:2085
                                                                                                                       IN THE
                               WEBSITE'S TECHNICAL OPERATION, EVEN IF FORESEEABLE OR EVEN IF THE COMPANY ENTITIES AND
                               INDIVIDUALS HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES WHETHER IN AN ACTION OF
                               CONTRACT, NEGLIGENCE, STRICT LIABILITY TORT (INCLUDING, WITHOUT LIMITATION, WHETHER
                               CAUSED IN WHOLE OR IN PART BY NEGLIGENCE, ACTS OF GOD, TELECOMMUNICATIONS FAILURE, OR
                               THEFT OR DESTRUCTION OF THE WEBSITE). IN NO EVENT WILL THE COMPANY ENTITIES AND
                               INDIVIDUALS BE LIABLE TO YOU OR ANYONE ELSE FOR LOSS OR INJURY, INCLUDING, WITHOUT
                               LIMITATION, DEATH OR PERSONAL INJURY. SOME STATES DO NOT ALLOW THE EXCLUSION OR
                               LIMITATION OF INCIDENTAL OR CONSEQUENTIAL DAMAGES, SO THE ABOVE LIMITATION OR EXCLUSION
                               MAY NOT APPLY TO YOU. IN NO EVENT SHALL THE COMPANY ENTITIES AND INDIVIDUALS TOTAL
                               LIABILITY TO YOU FOR ALL DAMAGES, LOSSES, OR CAUSES OF ACTION EXCEED ONE HUNDRED
                               DOLLARS ($100). THE COMPANY ENTITIES AND INDIVIDUALS ARE NOT RESPONSIBLE FOR ANY DAMAGE
                               TO ANY USER'S COMPUTER, HARDWARE, COMPUTER SOFTWARE, OR OTHER EQUIPMENT OR
                               TECHNOLOGY INCLUDING, WITHOUT LIMITATION, DAMAGE FROM ANY SECURITY BREACH OR FROM
                               ANY VIRUS, BUGS, TAMPERING, FRAUD, ERROR, OMISSION, INTERRUPTION, DEFECT, DELAY IN
                               OPERATION OR TRANSMISSION, COMPUTER LINE OR NETWORK FAILURE OR ANY OTHER TECHNICAL
                               OR OTHER MALFUNCTION. YOUR ACCESS TO AND USE OF THIS WEBSITE IS AT YOUR RISK. IF YOU ARE
                               DISSATISFIED WITH THE WEBSITE OR ANY OF THE CONTENT, YOUR SOLE AND EXCLUSIVE REMEDY IS
                               TO DISCONTINUE ACCESSING AND USING THE WEBSITE OR THE CONTENT. YOU RECOGNIZE AND
                               CONFIRM THAT IN THE EVENT YOU INCUR ANY DAMAGES, LOSSES OR INJURIES THAT ARISE OUT OF
                               THE COMPANY'S ACTS OR OMISSIONS, THE DAMAGES, IF ANY, CAUSED TO YOU ARE NOT IRREPARABLE
                               OR SUFFICIENT TO ENTITLE YOU TO AN INJUNCTION PREVENTING ANY EXPLOITATION OF ANY WEBSITE
                               OR OTHER PROPERTY OWNED OR CONTROLLED BY THE COMPANY AND/OR ITS PARENTS,
                               SUBSIDIARIES, AND/OR AFFILIATES OR YOUR UPLOAD INFORMATION, AND YOU WILL HAVE NO RIGHTS
                               TO ENJOIN OR RESTRAIN THE DEVELOPMENT, PRODUCTION, DISTRIBUTION, ADVERTISING, EXHIBITION
                               OR EXPLOITATION OF ANY COMPANY WEBSITE OR OTHER PROPERTY OR YOUR UPLOAD INFORMATION
                               OR ANY AND ALL ACTIVITIES OR ACTIONS RELATED THERETO. BY ACCESSING THE WEBSITE, YOU
                               UNDERSTAND THAT YOU MAY BE WAIVING RIGHTS WITH RESPECT TO CLAIMS THAT ARE AT THIS TIME
                               UNKNOWN OR UNSUSPECTED. ACCORDINGLY, YOU AGREE TO WAIVE THE BENEFIT OF ANY LAW,
                               INCLUDING, TO THE EXTENT APPLICABLE, CALIFORNIA CIVIL CODE SECTION 1542, THAT OTHERWISE
                               MIGHT LIMIT YOUR WAIVER OF SUCH CLAIMS.

                               INTELLECTUAL PROPERTY RIGHTS
                               The content on the Website, including without limitation, the text, software, scripts, graphics, photos, sounds, music,
                               videos, interactive features and the like and the trademarks, service marks and logos contained therein (the
                               “Intellectual Property”), are owned by or licensed to TopstepTrader, subject to copyright and other intellectual
                               property rights under United States and foreign laws and international conventions. Content on the Website is
                               provided to you AS IS for your information and personal use only and may not be used, copied, reproduced,

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                             Case: 1:17-cv-04412
                               distributed, transmitted,  broadcast, Document    #: 81-2
                                                                      displayed, sold,     Filed: 05/15/18
                                                                                       licensed,            Page
                                                                                                  or otherwise    41 of 86
                                                                                                               exploited forPageID #:2086
                                                                                                                            any other purposes
                               whatsoever without the prior written consent of the respective owners. TopstepTrader reserves all rights not
                               expressly granted in and to the Website and the Intellectual Property. You agree to not engage in the use, copying,
                               or distribution of any of the Intellectual Property other than expressly permitted herein. If you download or print a
                               copy of the Intellectual Property for personal use, you must retain all copyright and other proprietary notices
                               contained therein. You agree not to circumvent, disable or otherwise interfere with security related features of the
                               Website or features that prevent or restrict use or copying of any Intellectual Property or enforce limitations on use
                               of the Website or the Intellectual Property therein.
                               Some of the Services may allow you to submit or transmit audio, video, text, or other materials (collectively, “User
                               Submissions”) to or through the Services. When you provide User Submissions, you grant to TopstepTrader, its
                               parents, subsidiaries, affiliates, and partners a non-exclusive, worldwide, royalty-free, fully sublicenseable license to
                               use, distribute, edit, display, archive, publish, sublicense, perform, reproduce, make available, transmit, broadcast,
                               sell, translate, and create derivative works of those User Submissions, and your name, voice, likeness and other
                               identifying information where part of a User Submission, in any form, media, software, or technology of any kind now
                               known or developed in the future, including, without limitation, for developing, manufacturing, and marketing
                               products. You hereby waive any rights you may have in your User Submissions.
                               We respect your ownership of User Submissions. If you owned a User Submission before providing it to us, you will
                               continue owning it after providing it to us, subject to any rights granted in the Terms of Use and any access granted
                               to others. If you delete a User Submission from the Services, our general license to that User Submission will end
                               after a reasonable period of time required for the deletion to take full effect. However, the User Submission may still
                               exist in our backup copies, which are not publicly available. If your User Submission is shared with third parties,
                               those third parties may have retained copies of your User Submissions. In addition, if we made use of your User
                               Submission before you deleted it, we will continue to have the right to make, duplicate, redistribute, and sublicense
                               those pre-existing uses, even after you delete the User Submission. Terminating your account on a Service will not
                               automatically delete your User Submissions.
                               We may refuse or remove a User Submission without notice to you. However, we have no obligation to monitor User
                               Submissions, and you agree that neither we nor our parents, subsidiaries, affiliates, employees, or agents will be
                               liable for User Submissions or any loss or damage resulting from User Submissions.
                               Except as provided in the Privacy Policy, we do not guarantee that User Submissions will be private, even if the
                               User Submission is in a password-protected area. Accordingly, you should not provide User Submissions that you
                               want protected from others.
                               You represent and warrant that you have all rights necessary to grant to TopstepTrader the license above and that
                               none of your User Submissions are defamatory, violate any rights of third parties (including intellectual property
                               rights or rights of publicity or privacy), or violate applicable law.

                               MISCELLANEOUS

https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader

                               These Terms   Case:
                                              of Use1:17-cv-04412   Document
                                                      shall be governed         #: 81-2 substantive
                                                                         by the internal Filed: 05/15/18
                                                                                                     lawsPage
                                                                                                         of the42 of 86
                                                                                                                State of PageID     #:2087respect to its
                                                                                                                         Illinois, without
                               conflict of laws principles. Any claim or dispute between you and TopstepTrader that arises in whole or in part from
                               the Terms of Use, the Website or any Contest shall be decided exclusively by a court of competent jurisdiction
                               located in Cook County, Illinois.
                               Nothing in the Terms of Use shall create or confer any rights or other benefits in favor of any third parties except as
                               specifically provided herein. By participating in any Contest on the Website, you agree to indemnify, protect, defend
                               and hold harmless TopstepTrader, its parents, subsidiaries, affiliates and divisions, and their respective directors,
                               officers, employees, agents and representatives (the “TopstepTrader Entities”), from and against any and all third
                               party claims, liabilities, losses, damages, injuries, demands, actions, causes of action, suits, proceedings, judgments
                               and expenses, including reasonable attorneys’ fees, court costs and other legal expenses including, without
                               limitation, those costs incurred at the trial and appellate levels and in any bankruptcy, reorganization, insolvency or
                               other similar proceedings, and any other legal expenses (collectively, “Claims”) arising from or connected with your
                               use of the Website, any payment methods used, any funding of your account, and/or your participation in any
                               Contest. The Website may contain links to third party websites that are not owned or controlled by TopstepTrader.
                               TopstepTrader has no control over, and assumes no responsibility for, the content, privacy policies, or practices of
                               any third party websites. In addition, TopstepTrader will not and cannot censor or edit the content of any third-party
                               site. By using the Website, you expressly relieve TopstepTrader from any and all liability arising from your use of
                               any third-party website. Accordingly, we encourage you to be aware when you leave the Website and to read the
                               terms and conditions and privacy policy of each other website that you visit.
                               Nothing in the Terms of Use shall create or be deemed to create a partnership, agency, trust arrangement, fiduciary
                               relationship or joint venture between you and TopstepTrader.
                               No company, exchange, or affiliate of the entities used on TopstepTrader are in any way affiliated with
                               TopstepTrader or in any way affiliated or associated with the Contests.
                               If any provision of these Terms of Use is deemed invalid by a court of competent jurisdiction, the invalidity of such
                               provision shall not affect the validity of the remaining provisions of these Terms of Use, which shall remain in full
                               force and effect.
                               No waiver of any term of these Terms of Use shall be deemed a further or continuing waiver of such term or any
                               other term, and TopstepTrader's failure to assert any right or provision under these Terms of Use shall not constitute
                               a waiver of such right or provision.
                               TopstepTrader reserves the right to amend these Terms of Use at any time and without notice, and it is your
                               responsibility to review these Terms of Use for any changes. If you continue to use the Services after we change the
                               Terms of Use, you accept all changes. The failure of TopstepTrader to comply with any provision of these Terms of
                               Use due to an act of God, hurricane, war, fire, riot, earthquake, terrorism, act of public enemies, actions of
                               governmental authorities outside of the control of the Company (excepting compliance with applicable codes and
                               regulations) or other force majeure event will not be considered a breach of these Terms of Use.


https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Become a Funded Trader - TopstepTrader
                                        Case: 1:17-cv-04412
                               TOPSTEPTRADER                Document #: 81-2
                                               AND OTHER TRADEMARKS          Filed: 05/15/18
                                                                         CONTAINED     ON THEPage 43 of 86ARE
                                                                                               WEBSITE     PageID #:2088
                                                                                                              TRADEMARKS OR
                               REGISTERED TRADEMARKS OF TOPSTEPTRADER IN THE UNITED STATES AND/OR OTHER COUNTRIES.
                               THIRD PARTY TRADEMARKS, TRADE NAMES, PRODUCT NAMES AND LOGOS MAY BE THE TRADEMARKS
                               OR REGISTERED TRADEMARKS OF THEIR RESPECTIVE OWNERS. YOU MAY NOT REMOVE OR ALTER
                               ANY TRADEMARK, TRADE NAMES, PRODUCT NAMES, LOGO, COPYRIGHT OR




               Company                                                Our Program                                        Squawk Radio                                 Join Us On

               Blog                                                   14-day Trial                                             Listen Now                             Facebook
               Help & Feedback                                        Trading Combine ®                                                                               Twitter
               Contact Us                                             Getting Funded                                     Broadcast calendar                           Google+
               Become an Affiliate                                    Private Mentoring                                                                               YouTube
                                                                                                                                                                      Linkedin




               © 2015 – TopstepTrader, LLC                                                                                            Note: We do not offer commodity trading advice or recommendations.
               All rights reserved. Read our Terms of Service.                                                TopstepTrader, LLC | 130 South Jefferson Suite 100 | Chicago, Illinois 60661 | 1 (888) 407-1611




https://web.archive.org/web/20150325230705/https://www.topsteptrader.com/terms-of-service[6/19/2017 9:36:21 PM]
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 44 of 86 PageID #:2089




            EXHIBIT D
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 45 of 86 PageID #:2090




                               Sign up for free.
                   You’re one step closer to becoming a funded
                                    trader. Keep going.



                    First Name




                    Last Name




                    Email Address




                    Phone Number




                    Username




                    Password




                                     Please accept Terms of Use.




                                     Join TopstepTrader



                                 Already have an account? Login!
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 46 of 86 PageID #:2091




            EXHIBIT E
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 47 of 86 PageID #:2092




                                            HOW DOES IT WORK?

                                              WE KEEP IT SIMPLE!




                                          1. Evaluation
       © 2017 OneUp Trader. All rights reserved. Terms |
       Privacy




https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 48 of 86 PageID #:2093


                      Showcase Your
                      Trading Talents And
                      Prove You Can
                      Manage A Portfolio
                      Just Follow The Rules, Meet Your Profit
                      Target, And You Get Funded
                      Enter the Evaluation and you will have as many days to reach the objective.

                      Upon successful completion of the Evaluation, you will be funded by our funding
                      partners with the same Account Balance and Max Drawdown as the Evaluation
                      you successfully completed.




                                                                                   12 Lots
                                                       3 Lots    6 Lots


                                                                              $100,000
                         Select Your            $25,000 $50,000
                         Account
                                                                                    12 Lots
                        Max Position Size              3 Lots     6 Lots
                                                                                    $2,500
                        Daily Loss Limit                $500     $1,250
                                                                                    $3,500
                        Max Drawdown                   $1,500    $2,500
                                                                                    $6,000
                        Profit Target                  $1,500    $3,000
                                                                                     $300
                        Monthly Price                   $125      $150




https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 49 of 86 PageID #:2094




                              15 Lots                25 Lots



                      $150,000$250,000

                              15 Lots                 25 Lots

                              $3,500                   $4,500

                              $5,000                   $5,500

                              $9,000                  $15,000

                               $350                     $650




                          Trade a minimum of 15 days
                          Trade permitted Products and Times
                          Do not allow your Account Balance to hit or exceed the Trailing Drawdown
                          Hit or exceed Profit Target


                      The Evaluation monthly costs recur every 30 days from your sign up date until you
                      meet your objective or you cancel your account.

                      * Didn’t hit your target the first time? No problem! For $100, you can reset your
                      account starting balance and rules at anytime.




                      Preferred Trading
                      Partners
https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 50 of 86 PageID #:2095




                        Market Data Powered by




                          Other Supported Platforms - Click To See Complete List




                                                              Get Notified For Launch




                                                2. Funding
https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 51 of 86 PageID #:2096




                        Meet Your Objective, Get Funded By
                          Our Partners. It’s That Simple.

                    Once you’ve met your target and successfully passed through our Evaluation process,
                     then you will be funded by our funding partners with the same Account Balance and
                                                     Max Drawdown as your Evaluation



                       Keep 100% of your first                   Trade anywhere at any time
                       $8,000 in profits                         Withdraw profits at any time
                       Generous 80% Profit Split,
                       with 80% going to you




                                                    3 Lots           6 Lots            12 Lots



                       Funded                 $25,000 $50,000 $100,000
                       Account

                      Max Position Size              3 Lots          6 Lots            12 Lots

                      Daily Loss Limit                $500           $1,250            $2,500

                      Max Drawdown                   $1,500          $2,500            $3,500

                      Profit Target                  $1,500          $3,000            $6,000




                          15 Lots                  25 Lots



                    $150,000$250,000
https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 52 of 86 PageID #:2097


                           15 Lots                  25 Lots

                            $3,500                  $4,500

                            $5,000                  $5,500

                            $9,000                  $15,000




                                                              Get Notified For Launch




                   * Note: Funded traders are responsible for their trading platform fees and data fee
                   cost charged or incurred by the exchange.




https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 53 of 86 PageID #:2098




            EXHIBIT F
                 Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 54 of 86 PageID #:2099




    1. Knowledge Base
                          ☰Guidelines
    2. Evaluation Rules and
    3. Evaluation Rules & Parameters

Enter a question, keyword or topic...




Evaluation Rules & Parameters
 

– Trade a minimum of 15 days
– Trade permitted products and times
– Do not hit or exceed the Daily Loss Limit
– Do not allow the Account Balance to hit or exceed the Trailing Max Drawdown
– Adhere to the Max Position Size
– Hit or Exceed the Proﬁt Target




Was this article helpful? Yes / No, I want to contact support



Full Risk Disclosure: Futures and forex trading contains substantial risk and is not for every investor. An investor could potentially lose all or more than the initial investment. Risk capital is money
that can be lost without jeopardizing ones’ ﬁnancial security or life style. Only risk capital should be used for trading and only those with suﬃcient risk capital should consider trading. Past
performance is not necessarily indicative of future results.

CFTC rule 4.41: Hypothetical or simulated performance results have certain limitations. Unlike an actual performance record, simulated results do not represent actual trading. Also, since the
trades have not been executed, the results may have under-or-over compensated for the impact, if any, of certain market factors, such as lack of liquidity. Simulated trading programs in general
are also subject to the fact that they are designed with the beneﬁt of hindsight. No representation is being made that any account will or is likely to achieve proﬁt or losses similar to those
shown.


Powered by Groove




                                                                                                                                                              CLICK HERE FOR HELP
                 Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 55 of 86 PageID #:2100




    1. Knowledge Base
                      ☰ ☰
    2. General Overview
    3. What are the rules of the Evaluation?

Enter a question, keyword or topic...




What are the rules of the Evaluation?
You have to meet a certain proﬁt target during the evaluation period, but you also have to demonstrate that you have proper
risk management and trading skills during the process.

– Trade a minimum of 15 days
– Trade permitted products and times
– Do not hit or exceed the Daily Loss Limit
– Do not allow the Account Balance to hit or exceed the Trailing Drawdown
– Adhere to the Max Position Size
– Hit or Exceed the Proﬁt Target




Was this article helpful? Yes / No, I want to contact support



Full Risk Disclosure: Futures and forex trading contains substantial risk and is not for every investor. An investor could potentially lose all or more than the initial investment. Risk capital is money
that can be lost without jeopardizing ones’ ﬁnancial security or life style. Only risk capital should be used for trading and only those with suﬃcient risk capital should consider trading. Past
performance is not necessarily indicative of future results.

CFTC rule 4.41: Hypothetical or simulated performance results have certain limitations. Unlike an actual performance record, simulated results do not represent actual trading. Also, since the
trades have not been executed, the results may have under-or-over compensated for the impact, if any, of certain market factors, such as lack of liquidity. Simulated trading programs in general
are also subject to the fact that they are designed with the beneﬁt of hindsight. No representation is being made that any account will or is likely to achieve proﬁt or losses similar to those
shown.


Powered by Groove




                                                                                                                                                              CLICK HERE FOR HELP
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 56 of 86 PageID #:2101
NOTICE: Thank you for your support and patience. We're experiencing unexpected launch delays as we'reX
  nalizing a few details so we can provide a great trading experience for our traders. We don't want to
  compromise the quality of our platform as we're working to nalize integrations with our systems.




      HOW DOES IT WORK?
                                   WE K E EP I T SI M PLE !




       Evaluation
           1.
                                                                           CLICK HERE FOR HELP
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 57 of 86 PageID #:2102


  Showcase Your Trading
NOTICE: Thank you for your support and patience. We're experiencing unexpected launch delays as we'reX
  nalizing a few details so we can provide a great trading experience for our traders. We don't want to
  compromise the quality of our platform as we're working to nalize integrations with our systems.



  Talents And Prove You Can
  Manage A Portfolio
  Just Follow The Rules, Meet Your Pro t Target,
  And You Get Funded
  Successfully complete the Evaluation, and you will be funded by our funding partners with the
  same Account Balance and Max Drawdown as the Evaluation you successfully completed.




                                                                             CLICK HERE FOR HELP
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 58 of 86 PageID #:2103
NOTICE: Thank you for your support and patience. We're experiencing unexpected launch delays as we'reX
                                                               12 Lots
  nalizing a few details so we can provide a great trading experience for our traders. We don't want to
  compromise the quality3ofLots
                              our platform as6we're
                                                Lotsworking to nalize integrations15with our systems.
                                                                                       Lots


                                                        $100,000
    Select Your           $25,000 $50,000                                 $150,000
    Account
                                                              12 Lots
      Max Position Size     3 Lots           6 Lots                             15 Lots
                                                              $2,500
      Daily Loss Limit      $500            $1,250                              $3,500
                                                              $3,500
      Max Drawdown          $1,500          $2,500                              $5,000
                                                              $6,000
      Pro t Target          $1,500          $3,000                              $9,000
                                                               $300
      Monthly Price         $125             $150                                $350




        25 Lots



  $250,000

         25 Lots

         $4,500

         $5,500

        $15,000

          $650




     Trade a minimum of 15 days
     Trade permitted Products and Times
     Do not allow your Account Balance to hit or exceed the  Trailing Drawdown
                                                                            CLICK HERE FOR HELP
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 59 of 86 PageID #:2104
    Hit or
NOTICE:    exceed
        Thank  youPro   t Target
                   for your  support and patience. We're experiencing unexpected launch delays as we'reX
  nalizing a few details so we can provide a great trading experience for our traders. We don't want to
  compromise the quality of our platform as we're working to nalize integrations with our systems.
  The Evaluation monthly costs recur every 30 days from your sign up date until you meet your
  objective or you cancel your account.

  * Didn’t hit your target the rst time? No problem!  For $100, you can reset your account
  starting balance and rules at anytime.




  Preferred Trading Solutions



     Market Data Powered by    




     Other Supported Platforms - Click To See Complete List




                                                Get Noti ed For Launch




                                                                             CLICK HERE FOR HELP
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 60 of 86 PageID #:2105
NOTICE: Thank you for your support and patience. We're experiencing unexpected launch delays as we'reX
  nalizing a few details so we can provide a great trading experience for our traders. We don't want to
  compromise the quality of our platform as we're working to nalize integrations with our systems.




  Meet Your Objective, Get
 Funded By Our Partners. It’s
        That Simple.
Once you’ve met your target and successfully passed through our Evaluation process, then you will
  be funded by our funding partners with the same Account Balance and Max Drawdown as your
                                           Evaluation



            Keep 100% of your rst $8,000 in
            pro ts
            Generous 80% Pro t Split, with 80%
            going to you
                                                                           CLICK HERE FOR HELP
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 61 of 86 PageID #:2106
  Trade Thank
NOTICE: anywhere
               youatforany time
                        your  support and patience. We're experiencing unexpected launch delays as we'reX
  nalizing a few details so we can provide a great trading experience for our traders. We don't want to
  Withdraw
  compromise prothe
                  tsquality
                     at any time
                             of our platform as we're working to nalize integrations with our systems.




                                   3 Lots             6 Lots             12 Lots          15 Lots



           Account               $25,000 $50,000 $100,000$150,000
           Size

             Max Position Size     3 Lots              6 Lots            12 Lots           15 Lots

             Max Drawdown          $1,500             $2,500             $3,500            $5,000




               25 Lots



         $250,000

                25 Lots

                $5,500




                                                Get Noti ed For Launch




         * Note: Funded traders are responsible for their trading platform fees and data fee cost
         charged or incurred by the exchange.




                                                                               CLICK HERE FOR HELP
       Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 62 of 86 PageID #:2107
NOTICE: Thank you for your support and patience. We're experiencing unexpected launch delays as we'reX
  nalizing a few details so we can provide a great trading experience for our traders. We don't want to
  compromise the quality of our platform as we're working to nalize integrations with our systems.




                                                                           CLICK HERE FOR HELP
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 63 of 86 PageID #:2108




                                            HOW DOES IT WORK?

                                              WE KEEP IT SIMPLE!




                                          1. Evaluation
       © 2017 OneUp Trader. All rights reserved. Terms |
       Privacy




https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 64 of 86 PageID #:2109


                      Showcase Your
                      Trading Talents And
                      Prove You Can
                      Manage A Portfolio
                      Just Follow The Rules, Meet Your Profit
                      Target, And You Get Funded
                      Enter the Evaluation and you will have as many days to reach the objective.

                      Upon successful completion of the Evaluation, you will be funded by our funding
                      partners with the same Account Balance and Max Drawdown as the Evaluation
                      you successfully completed.




                                                                                   12 Lots
                                                       3 Lots    6 Lots


                                                                              $100,000
                         Select Your            $25,000 $50,000
                         Account
                                                                                    12 Lots
                        Max Position Size              3 Lots     6 Lots
                                                                                    $2,500
                        Daily Loss Limit                $500     $1,250
                                                                                    $3,500
                        Max Drawdown                   $1,500    $2,500
                                                                                    $6,000
                        Profit Target                  $1,500    $3,000
                                                                                     $300
                        Monthly Price                   $125      $150




https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 65 of 86 PageID #:2110




                              15 Lots                25 Lots



                      $150,000$250,000

                              15 Lots                 25 Lots

                              $3,500                   $4,500

                              $5,000                   $5,500

                              $9,000                  $15,000

                               $350                     $650




                          Trade a minimum of 15 days
                          Trade permitted Products and Times
                          Do not allow your Account Balance to hit or exceed the Trailing Drawdown
                          Hit or exceed Profit Target


                      The Evaluation monthly costs recur every 30 days from your sign up date until you
                      meet your objective or you cancel your account.

                      * Didn’t hit your target the first time? No problem! For $100, you can reset your
                      account starting balance and rules at anytime.




                      Preferred Trading
                      Partners
https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 66 of 86 PageID #:2111




                        Market Data Powered by




                          Other Supported Platforms - Click To See Complete List




                                                              Get Notified For Launch




                                                2. Funding
https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 67 of 86 PageID #:2112




                        Meet Your Objective, Get Funded By
                          Our Partners. It’s That Simple.

                    Once you’ve met your target and successfully passed through our Evaluation process,
                     then you will be funded by our funding partners with the same Account Balance and
                                                     Max Drawdown as your Evaluation



                       Keep 100% of your first                   Trade anywhere at any time
                       $8,000 in profits                         Withdraw profits at any time
                       Generous 80% Profit Split,
                       with 80% going to you




                                                    3 Lots           6 Lots            12 Lots



                       Funded                 $25,000 $50,000 $100,000
                       Account

                      Max Position Size              3 Lots          6 Lots            12 Lots

                      Daily Loss Limit                $500           $1,250            $2,500

                      Max Drawdown                   $1,500          $2,500            $3,500

                      Profit Target                  $1,500          $3,000            $6,000




                          15 Lots                  25 Lots



                    $150,000$250,000
https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
How It Works | OneUp Trader
                  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 68 of 86 PageID #:2113


                           15 Lots                  25 Lots

                            $3,500                  $4,500

                            $5,000                  $5,500

                            $9,000                  $15,000




                                                              Get Notified For Launch




                   * Note: Funded traders are responsible for their trading platform fees and data fee
                   cost charged or incurred by the exchange.




https://oneuptrader.com/how-it-works[3/31/2017 10:25:40 AM]
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 69 of 86 PageID #:2114




           EXHIBIT G
 Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 70 of 86 PageID #:2115




HOW DOES IT WORK?

                Types
                          WE KE EP IT SIMPLE !




             1. Account


Your Account, Your Choice.
                                                              CLICK HERE FOR HELP
  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 71 of 86 PageID #:2116

Choose From A Variety Of Trading Account Sizes
Ranging From $25,000 To $250,000 With A 50%
Or 80% Pro t Split Options



  NOVICE                 BEGINNER         ADVANCED                 PROFESSIONAL




        50% Pro t Split                  80% Pro t Split



         $25,000                          $25,000
               Account                          Account




          Max 3 Contracts                  Max 3 Contracts

        $1,500 Pro t Target              $1,500 Pro t Target

       $1,500 Max Drawdown              $1,500 Max Drawdown

        $500 Daily Loss Limit            $500 Daily Loss Limit

         First $5,000 100%                First $8,000 100%

        $100 Account Reset               $100 Account Reset

           $95 Monthly                      $125 Monthly




                                                                 CLICK HERE FOR HELP
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 72 of 86 PageID #:2117




                               Start Your Free Trial




                                                             CLICK HERE FOR HELP
   Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 73 of 86 PageID #:2118




Prove You Can Manage An
Account
Simply Follow The Rules And Hit Your Pro t
Target




                                    TRADING DAYS
You must trade a minimum of 15 trading days to be eligible for placement with our funding
                   partners. Holidays and Weekends are not included.




                               PERMITTED PRODUCTS
                                                                       CLICK HERE FOR HELP
    Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 74 of 86 PageID #:2119
Permitted products: 6A  6B  6C  6E  6N 6J  6S  CL  E7  EMD ES  GC  GE GF HE HG HO LE  NG
        NKD  NQ  PL QI QG QM QO RB SI UB  YM  ZB  ZC  ZF  ZL  ZM  ZN  ZS  ZT  ZW




                                    PERMITTED TIMES
 All positions MUST be closed by 3:00 PM CST. Trading day starts at 5 PM CST and ends at 3
                      PM CST (not including holidays and weekends)




                                   MAX POSITION SIZE
Your maximum position size is based on the account size you choose, and this is the maximum
               allowable open positions across all products at any given time.




                                      PROFIT TARGET
  Your required pro t is based on the account you choose.  It is the minimum amount of net
                  pro ts needed  for placement with our funding partners.




                                     DAILY LOSS LIMIT
  Your Net PnL cannot hit or exceed this amount in any trading day. Your positions may be
        attened and any further trading for the day will be halted till nextCLICK  HERE
                                                                             trading day. FOR HELP
    Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 75 of 86 PageID #:2120




                                TRAILING DRAWDOWN
Do not allow your Account Balance to hit or exceed this amount.  The Trailing Drawdown will
               increase a de ned distance as your account balance increase.




                                       CONSISTENCY
  Traders must demonstrate the ability to trade in a consistent and regular trading pattern
                             throughout the entire Evaluation.




                                       Start Your Free Trial




                     Platform
                     3. Trading
                                                                         CLICK HERE FOR HELP
     Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 76 of 86 PageID #:2121


Your Preferred Trading
Platform




Over 18 Trading Platforms To
Choose From




   Market Data Powered by    




                                                                  CLICK HERE FOR HELP
  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 77 of 86 PageID #:2122




Share, Chat, And Analyze
Communicate, Share, And Discuss Ideas With
Like-Minded Traders To Accomplish The Same
Goals




                                                               CLICK HERE FOR HELP
   Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 78 of 86 PageID #:2123




Social Dashboard
 Post, Share, and Follow fellow traders within the community
 Multiple Trading Channels
 Live Community Chat
 Account Analytics




Industry News
 Streaming Quotes and News
 Economic Calendars
 Market Movers and Shakers
 Live TV Streaming


                                                                CLICK HERE FOR HELP
   Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 79 of 86 PageID #:2124




Account Analytics
                                                                CLICK HERE FOR HELP
 Advanced Trading Statistics
  Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 80 of 86 PageID #:2125
Daily Updates with Detailed Trade Analysis
Visual In Depth Statistics
Target Goal Metrics




                                 Start Your Free Trial




                       Funding
                       5. Trader


Follow The Rules, Hit Your
Target, Get Funded By Our                                       CLICK HERE FOR HELP
Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 81 of 86 PageID #:2126




           EXHIBIT H
                 Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 82 of 86 PageID #:2127




OneUp’s Rules	&	Parameters	(Help	Page)                               TST’s	Trading	Combine®Rules (Help	Page)
                                                                                                               1
                 Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 83 of 86 PageID #:2128




OneUp’s Evaluation	Rules	(Help	Page)                                    TST’s	Trading	Combine®	Parameters	
                                                                        (Help	Page)                          2
                   Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 84 of 86 PageID #:2129




OneUp’s Reset	FAQ	(Help	Page)                                            TST’s	Reset	FAQ	(Help	Page)


                                                                                                       3
                        Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 85 of 86 PageID #:2130




OneUp’s Description	of	its	Evaluation	(How	                          TST’s	Description	of	its	Trading	Combine®	
it	Works	Page)                                                       (Learn	How	Page)
                                                                                                                  4
                     Case: 1:17-cv-04412 Document #: 81-2 Filed: 05/15/18 Page 86 of 86 PageID #:2131




OneUp’s Rules	for	its	Evaluation	(How	it	                         TST’s	Rules	for	its	Trading	Combine®	(Learn	
Works	Page)                                                       How	Page)



                                                                                                                 5
